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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA
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                      - v. -                                                  No. 22 Cr. 240 (AKH)
                                                                        :
 SUNG KOOK (BILL) HWANG,
                                                                        :
                                Defendant.
                                                                        :
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




        SENTENCING MEMORANDUM OF THE UNITED STATES OF AMERICA




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I.     PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum to assist the Court in determining

the appropriate sentence for defendant Sung Kook (Bill) Hwang. Hwang, an unrepentant recidivist,

led one of the largest securities fraud schemes in history and caused billions in losses. For the

reasons set out at length below and summarized here, the Court should sentence him commensurate

with his wrongdoing by imposing a term of twenty-one years of imprisonment, ordering him to

forfeit his criminal proceeds, and directing him to pay restitution to his victims.

       First, as the Court learned over two months of trial, Hwang pursued a multi-billion fraud

that altered the American stock market and inflicted extraordinary losses on his business

counterparties. Hwang transformed his private hedge fund, Archegos, into an instrument of crime

and used lies and manipulative trading strategies to rig the stock market in his favor. For a time, it

succeeded. Hwang’s personal wealth grew from around $2 billion to more than $30 billion. The

scheme so distorted market prices for a handful of securities, however, that its predictable collapse

led to economic calamity: billions in losses for Archegos’s counterparties, the destruction of

Archegos, the precipitous fall of stock prices, and a national conversation about the need for Wall

Street reforms for so-called “family offices.”

       Second, Hwang’s fraud was neither fleeting nor aberrant. Hwang labored for months to

control the markets, personally directing hundreds of manipulative trades and training,

encouraging, and expecting his subordinates to use deceit to obtain financing from counterparties

to enable still more trading. Hwang’s conduct represents his second effort to cheat his way to

personal success. In 2008 and 2009, Hwang worked with his trading team to manipulate stocks to

benefit his portfolio. Hwang got caught and he and his fund were punished in multiple jurisdictions

around the world. Indeed, Archegos as a brand and as a family office exists because Hwang’s prior
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firm, Tiger Asia, pled guilty to wire fraud in the District of New Jersey and Hwang thereafter

changed Tiger Asia’s name to “Archegos.” Few have committed fraud at the scale Hwang achieved

here; virtually none have done so after a previous sanction for wrongdoing.

       Third, Hwang does not accept responsibility for his actions. He denies he did anything

wrong at Tiger Asia. He denies he did anything wrong at Archegos. He denies any role in the

billions in losses suffered by his business counterparties, his former employees, or the market as a

whole. He denies he ever misled anyone or agreed with others to mislead. Through counsel, he

continues to decry the very fact that he was prosecuted as “unprecedented.” (Hwang Sentencing

Mem. at 2). And he even denies the jury’s verdict, choosing to repeatedly characterize the charges

of conviction as “alleged” and maintaining that the “does not believe that the evidence was

sufficient to convict him of the misrepresentation scheme.” (Hwang Sentencing Mem. at 44 n.18).

Perhaps most troublingly, he has at no time and in no manner expressed any remorse or regret for

the harm that his trading caused others. Hwang shows no sympathy for individuals who purchased

stock at inflated prices and lost money when the value collapsed, for the employees of banks across

Wall Street (many of whom saw themselves as colleagues and peers of Hwang and his traders)

who were blamed and disciplined or even fired for trusting Hwang and his team and trading with

them, or for his own employees who were pressured to place their savings in Hwang’s investments

and who suffered greatly when those investment turned valueless. Here, on the eve of sentencing,

Hwang has reflected on what happened and has judged himself blameless.

       Fourth, rather than reckon with what he has done, Hwang urges the Court to focus on his

philanthropy. Of course, the Court must consider Hwang’s personal works and circumstances,

along with all the Section 3553(a) factors. But Hwang’s philanthropy—enabled, as with Hwang’s

offenses, only by virtue of Hwang’s extraordinary wealth—does not justify a noncustodial



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sentence or show his crimes to be inexplicably out of character. Indeed, Hwang’s respect for his

charity proved secondary to his participation in the offense: Hwang overwhelmingly spent his time

and resources to pursue fraud during this scheme; Hwang used his foundation’s office space and

corporate apartments to commit the crime; and Hwang hired his co-conspirators to cushy jobs at

his foundation after Archegos collapsed.

       In the end, the Court must satisfy the purposes of sentencing set forth in 18 U.S.C § 3553(a)

by imposing a sentence that delivers just punishment for what Hwang has done and promotes

respect for the law. A significant sentence will be required to deter Hwang—a recidivist and

unrepentant fraudster—and to signal to even the most hubristic investors that their grand schemes

will be met with serious sentences. Here, balancing Hwang’s extraordinary crime, his personal

works and circumstances, his prior offense, and his refusal to accept responsibility, and consistent

with the recommendation of the Probation Office, such a sentence would be twenty-one years’

imprisonment.



II.    PROCEDURAL HISTORY

       On April 25, 2022, a grand jury sitting in this District returned an eleven-count indictment

charging Hwang and Patrick Halligan with violations of Title 18, United State Code, Section

1962(d) (Racketeering Conspiracy) (Count One); Title 18, United State Code, Section 1343 (Wire

Fraud); and Title 15, United States Code, Sections 78j(b) and 78ff, and Title 17, Code of Federal

Regulations, Section 240.10b-5 (Securities Fraud) (Count Ten); and charging Hwang with

violations of Title 15, United States Code, Sections 78j(b) and 78ff, and Title 17, Code of Federal

Regulations, Section 240.10b-5 (Securities Fraud) (Count Two); and Title 15, United States Code,

Sections 78i(a)(2) and 78ff (Market Manipulation) (Counts Three through Nine).



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       Beginning in May 2024, the Court held a jury trial. After hearing two months of evidence,

the jury convicted Hwang and Halligan of conspiring to conduct the affairs of Archegos through a

pattern of racketeering activity, committing securities fraud and wire fraud, and further convicted

Hwang of scheming to—and succeeding in—manipulating the prices of Viacom, Discovery, GSX,

TME, and VIPS. The jury acquitted Hwang of manipulating the price of IQ.

       On November 8, 2024, Hwang filed a sentencing memorandum arguing for a non-custodial

sentence. In it, Hwang continues to deny any involvement in the crimes that the jury found he

committed and contends, among other things, that because “[t]his highly publicized case has

destroyed” his reputation and because the “central organizing principle of his life is service to

others,” he should not have to serve a prison term. (Hwang Sentencing Mem. at 1, 3, 58, 64 (“Mr.

Hwang did not knowingly or repeatedly lie to the purported victim banks, did not profit from

Archegos’s collapse, and did not obstruct justice in any way.”)).



III.   STATEMENT OF FACTS

       A.      Origins of the Archegos Enterprise

       What became the Archegos Enterprise began with Hwang’s prior hedge fund, Tiger Asia.

At Tiger Asia, Hwang established the business entities that would later take the Archegos name,

and Hwang employed many of the people that would later form the core of the racketeering

conspiracy established at trial, including Patrick Halligan, William Tomita, and Scott Becker.


       B.      Tiger Asia

       Hwang ran Tiger Asia as a hedge fund that purported to focus on Asian equities. (PSR

¶ 110). In 2008, however, Hwang lost approximately two billion dollars shorting Volkswagen, the

European car manufacturer. (Id.). Hwang blamed the losses on Goldman Sachs and, in particular,



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Goldman Sachs’s demand for more margin as the Volkswagen trade moved against him. (Id.). In

the aftermath of that loss, Hwang turned to fraud, including market manipulation and insider

trading, that—at least temporarily—enabled him to demonstrate gains to his investors. (Id.).

         Regulators in multiple countries eventually discovered Hwang’s misconduct, the result of

which made crystal clear to Hwang that these manipulative practices were wrongful and unlawful.

(PSR ¶ 113). In 2012, Tiger Asia pled guilty to wire fraud in a case before the U.S. District Court

for the District of New Jersey. (Id.). 1 The guilty plea related to Tiger Asia’s 2008 and 2009 insider

trading conduct. During the plea allocution, Hwang, speaking on behalf of his fund, admitted that,

contrary to the firm’s promises otherwise, Tiger Asia Management traded on confidential

information it had obtained from UBS and, separately, Morgan Stanley. (See, e.g., GX 2701,

22:18-22 (Court: “Did Tiger Asia Management violate Raymond Park’s agreement with UBS to

keep the information concerning China Construction Bank stock confidential and not to trade on

it?” Hwang: “Yes, Your Honor.”); id. at 24:04-08 (Court: “Did that violate Raymond Park’s

agreement with Morgan Stanley H.K. to keep the information concerning Bank of China stock

confidential and not to trade on it?” Hwang: “Yes, Your Honor.”)).

         Hwang also engaged in market manipulation at Tiger Asia. (PSR ¶¶ 113-14). Indeed, as

the Government was prepared to prove at trial, through the testimony of William Tomita and

contemporaneous email communications, Hwang, in order to inflate the value of Tiger Asia’s

portfolio before reporting results to investors, engaged in open-market manipulation. Specifically,

over multiple months in 2008 and 2009, Hwang directed his then-head trader and Tomita to mark

the close, that is, move the prices of certain securities at the close of trading to inflate the value of

Tiger Asia’s positions at month end.


1
    See United States v. Tiger Management, LLC, 12 Cr. 808 (SRC) (D.N.J. 2012).


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       The Securities and Exchange Commission filed a complaint against Hwang alleging,

among other things, that he manipulated the market using these open-market trades (GX 2708),

and Hwang entered into a no-admit, no-deny settlement with the Securities and Exchange

Commission on the insider trading and market manipulation conduct and accepted a multi-year

bar from managing outside investments (PSR ¶ 114). Tiger Asia also entered into a settlement with

a Hong Kong regulator, acknowledging in a stipulation of fact, through counsel that, “Hwang and

Park . . . engaged in false trading within the meaning [of Hong Kong law]” when “Park carried out

and instructed Tomita to assist him to carry out [certain trades] on 6 January 2009 with the

intention of creating a false or misleading appearance with the respect to the market for, or the

price for dealings in,” a specific security. (GX 2706).

       In the aftermath of the felony conviction and the SEC order, Hwang returned outside

investor money, changed Tiger Asia’s name to “Archegos,” and committed to operate Archegos

as “family office” that managed Hwang’s wealth. (PSR ¶ 115).


       C.      The Early Days of Archegos

       Once it rebranded, Archegos began to tell its counterparties that it had entered a new era

and moved beyond its Tiger Asia issues. (PSR ¶ 116). Hwang hired additional senior executives,

such as Andy Mills and Diana Pae, and gave them big titles, such as Co-CEO and Co-President,

respectively. (Id.). Hwang hired a compliance executive, Michael Satine, and the firm instituted

training that periodically reminded all employees—including Hwang—that insider trading and

market manipulation were wrong. (Id.). To assuage concerns by counterparties about dealing with

Archegos following the conduct at Tiger Asia, Archegos represented to multiple counterparties

that “All trades are reviewed daily” by compliance. (E.g., GX 1002A). To maintain, and later to

increase, the number of banking counterparties Archegos worked with, Archegos began sending


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its brokers a letter summarizing these changes and implying that Hwang, although the final

investment authority, operated within the constraints of an ordinary, compliance-minded fund run,

in part, by independent executives. (PSR ¶ 116).

       But these changes were illusory. Hwang remained the ultimate authority on any matter he

took an interest in; Hwang continued participating in the stock markets with no meaningful

oversight by Archegos’s compliance personnel, who, for the most part, policed the personal trading

of the firm’s analysts; and Hwang continued to be supported by the same senior people who had

enabled him at Tiger Asia, including Halligan, Becker, and Tomita. Halligan, for his part, took to

repeatedly and deliberately misleading counterparties with respect to important information about

Archegos’s portfolio and, at times, intentionally withheld information about the portfolio’s

performance. (PSR ¶ 117). Specifically, in conversations with Archegos’s counterparties, Halligan

would repeatedly understate the relative size of the firm’s largest positions. (PSR ¶ 118). In

addition, in or about 2017, when Becker took over the role of liaising with the credit teams at the

counterparties, Halligan instructed Becker, in substance, to tell the counterparties that Archegos’s

largest position was 35% of Archegos’s capital, even if that was not the truth. (Id.). Relatedly,

Halligan at times would purposefully withhold information from counterparties regarding

Archegos’s monthly performance and assets under management. (Id.) Halligan explained, in part,

that the banks were too ignorant to understand the information anyway.


       D.      Hwang and Halligan Operate the Archegos Enterprise Through Fraud

       In 2020, Archegos’s misleading practices developed into pervasive fraud: the defendants

pursued two interrelated criminal schemes, one involving manipulative trading in the marketplace

and the other involving false and misleading statements to Archegos’s trading counterparties.




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       The schemes picked up in the months that followed the start of the COVID-19 pandemic.

(PSR ¶¶ 44-46). Archegos’s portfolio, which had been worth approximately $2.7 billion at the end

of February 2020, fell to less than $1.5 billion by March 12, 2020, as the U.S. markets declined

and lockdowns began. Hwang, however, soon began to talk about not being afraid of a “war scare”

and the need to “play offense.” (See, e.g., GX 235).

       As with many organizations, COVID-19 shifted Archegos’s workplace and routines.

Employees left the office. Remote work became the norm. Soon, Hwang took to working in a

Central Park apartment leased by Grace & Mercy, his foundation, with one analyst and no senior

executives. (Trial Tr. 619 (Jones)). In the months that followed, Hwang became obsessed with

trading, and specifically with using his trading power to influence the prices of the stocks that

underlay his positions. By autumn, Hwang spent much of every day on a continuous Zoom with

his traders and on a parallel Instant Bloomberg chat, dictating trade orders down to limit prices

and timing. At times, Hwang would “raise his voice and yell at [the traders] for not being

aggressive enough.” (Trial Tr. 3187 (Tomita)). Archegos continued to hold itself out as an investor

focused on company fundamentals with a three- to five-year investment horizon, but Hwang spent

his time—and nearly all the firm’s capital—on constant trading in the same core names. Hwang

began deploying strategies aimed to manipulate, control, and artificially affect the market for

securities in Archegos’s portfolio, including techniques he had used at Tiger Asia. (PSR ¶ 50).

These techniques included purchasing or selling securities at particular, strategic times of day;

transacting in certain securities in large amounts or high volume; and timing or coordinating

certain transactions to maximize impact on the market. (PSR ¶ 64).

       Hwang found that his trading could pay for itself. Based on the margin rules in place at the

time, daily price moves would typically result in a change in how much margin Archegos owed



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the bank or, conversely, the bank owed Archegos. For the stocks where Hwang bet the prices

would go up, a daily price increase would mean that variation margin moved in his favor, too,

permitting him to access more cash. (PSR ¶ 65). Hwang took that cash and used it to fund

additional buying, further driving up the prices of the stocks, and thus freeing up still more cash.

(Trial Tr. 3040-41 (Tomita)). As position sizes—and thus margin impact—grew over 2020 and

into 2021, the margin framework became both an engine for fraud and a liability: a decrease in

prices would trigger a margin call and potentially threaten to unwind the price inflation Hwang

had achieved. To avoid this, Hwang began to focus much of Archegos’s trading at the end of day,

in large sizes and in relatively outsized proportions of the market. (E.g., Trial Tr. 2834-40

(Battalio)).

        Hwang’s trading schemes were sustained and furthered by lies and misrepresentations

made to Archegos’s counterparties. As Hwang’s trading led to large position sizes, Archegos

encountered risk, capacity, and margin lending limits at its counterparties. To enable Hwang to

continue to trade the same names at larger sizes, Halligan, Tomita, Becker, and others repeatedly

made materially false and misleading statements about Archegos’s portfolio of securities to

Archegos’s counterparties. (PSR ¶ 78). Those misrepresentations generally fell into three

categories: (i) misrepresentations regarding the concentration of Archegos’s positions;

(ii) misrepresentations regarding the liquidity of Archegos’s positions; and (iii) misrepresentations

regarding the composition of Archegos’s portfolio. These false and misleading statements were

designed to fraudulently induce the counterparties into trading with and extending credit to

Archegos, enabling and facilitating the market manipulation scheme, and to hide the true risk of

doing business with Archegos. (PSR ¶ 78).




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       Hwang further accomplished his manipulative trading by structuring it to avoid any public

reporting requirements that would reveal Archegos’s concentration. Most significantly, Hwang

used derivatives known as total return swaps that, unlike traditional equity securities, did not have

a public reporting requirement. (PSR ¶¶ 33-36). The Archegos conspirators, however, treated their

swaps as the functional equivalent of purchasing or selling the equity itself. To trade swaps at all,

Archegos understood that its counterparties would first buy or sell a corresponding security in the

market to price and hedge the swap for Archegos. In fact, Archegos in most circumstances

electronically instructed the counterparty on how it should buy or sell the stock that would underlie

the swap. Accordingly, Hwang and the traders could and did place orders for swaps and then get

“instantaneous feedback” as their orders hit the equities markets. (Trial Tr. 3046 (Tomita)). And

they also followed along as their counterparties became the top holders of the equities underlying

their swaps.

       Hwang’s trading strategies and use of multiple counterparties led market participants to

believe that the prices of those stocks were the product of natural forces of supply and demand

when, in fact, they were the artificial product of Hwang’s manipulative trading and deceptive

conduct that caused trading by others.


       E.      Archegos’s Collapse

       By March 2021, Hwang’s manipulative trading scheme—which relied in part on

continually increasing the size of Archegos’s positions in a handful of equities—had profoundly

reshaped Archegos’s portfolio and risk profile. Though Archegos often had concentrated positions

in the past, those positions typically had been in highly liquid stocks, such as Amazon or Netflix.

(PSR ¶ 44). Now Archegos had concentrated its investments in a grab bag of stocks with markets

that Hwang found he could distort, including ViacomCBS, Discovery, and VIPS. Archegos’s


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internal reporting estimated that it would take months to unwind these positions without crashing

the markets. (GX 962A). At the same time, individual counterparty banks began charging higher

margin rates because even the slices of the Archegos portfolio they could see appeared to be large

and concentrated in a handful of names. Because it was essential to the scheme to continue buying

the same stocks, Archegos was forced to do so at margin rates of 30%, 50%, and even 100%. (E.g.,

Trial Tr. 3462 (Tomita)). The combined effect of these trends was that Archegos’s portfolio

became highly vulnerable to external events that might deflate the artificial prices Hwang had

created and it sapped Archegos of the liquidity or cash to respond to such a development.

       Hwang began to explore ways to extract money from his scheme. Among other things, he

investigated block sales. He considered advocating for corporate takeovers, such as convincing

Apple to acquire Viacom. But he did not act quickly enough. In late March 2021, the markets

exposed Hwang’s price manipulation. On March 22, 2021, ViacomCBS announced a seasoned

equity offering. (PSR ¶ 93). Immediately, the conspirators perceived that the announcement

threatened to unwind their work by depressing the prices of Viacom stock. Halligan, for example,

remarked, “get ready for a ride” (GX 3745), and the traders prepared for a wild trading day. What

followed was a brazen attempt to overpower the markets: On March 23, Hwang directed nearly a

billion dollars in additional Viacom purchases, even as Halligan, Becker, and Tomita

acknowledged that the firm may not have the cash to cover the trading. (PSR ¶ 95). When the day

ended, the conspirators understood that the following day the firm would face margin calls it could

not meet. The problems compounded on March 24, 2021, when the SEC announced new disclosure

requirements that would apply to some of the foreign issuers in Archegos’s portfolio, which had

the effect of further depressing their stock price. On March 24, 2021, using what cash and capacity

remained, Hwang made one final attempt to reverse market forces but he failed. (PSR ¶ 96). As he



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did so, Halligan and Becker strategized about how best to ignore and mislead counterparties that

were inquiring about the situation. (PSR ¶ 98). When the markets closed, Archegos faced

substantial margin calls that it could not meet.

       Archegos’s senior executives pleaded with the firm’s counterparties for more time to meet

the margin calls. In a series of late-night phone calls seeking forbearance, Archegos asserted that

it faced a “liquidity” problem, not a “solvency” problem, and that its portfolio comprised

“household names” that it knew well. (E.g., GX 2537). But Archegos refused to provide the banks

with specific details about its positions or its plan to unwind positions to cover the margin calls.

As the situation became dire, Hwang himself addressed the banks. During a March 25, 2021 phone

call, Hwang falsely described Archegos’s portfolio by misrepresenting the liquidity of its top

names and how long it would take to unwind its positions. (GX 2504). Soon thereafter, however,

the counterparties lost patience and declared a default. In the following days, the counterparties

sold the stocks they held in connection with their agreements with Archegos. The prices that had

been artificially supported by the trading directed by Hwang, and funded by lies told to the

counterparties, collapsed. More than $100 billion in apparent market value for nearly a dozen

companies disappeared within a matter of days. (PSR ¶ 99).

       Ultimately, the market manipulation and fraud schemes, and the billions of dollars in losses

that they caused, victimized a wide swath of market participants, including banks and prime

brokers that engaged in loans and securities trading with Archegos based on lies and deceit,

ordinary investors who purchased and sold the relevant securities at artificial prices, and securities

issuers who made business decisions based on the artificial prices of their stocks. The schemes

also caused millions of dollars of losses to innocent Archegos employees who had been required

to allocate to Archegos a substantial amount of their pay as deferred compensation.



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         F.     After the Collapse

         By Friday, March 26, 2021, Archegos was no longer a viable business. Mills convened an

all-hands video conference and announced that Archegos would be winding down. (Trial Tr. 558

(Jones)). For some employees—most of whom had limited access to portfolio performance data—

this was the first they had heard that Archegos was in distress. The news that the fund was closing

arrived as a shock and carried with it the prospect that they would lose both their jobs and their

deferred compensation, which was invested in the fund.

         Hwang quickly pivoted to damage control. The firm interviewed public relations

professionals with experience in crisis management. Archegos senior leaders convened a series of

firmwide meetings. In at least one of these meetings, Mills demanded that nobody attempt to resign

and thereby trigger the payout of their deferred compensation based on pre-collapse values because

doing so would be disloyal. (See, e.g., Trial Tr. 562-63 (Jones)). And during at least one meeting,

Hwang informed Archegos employees that if they remained loyal to him, he would take care of

them.

         In the months that followed, Hwang did take care of many of those that had been closest

to him. As regulatory authorities and the Government began to demand documents about the

collapse, Hwang “hired” certain senior Archegos personnel at Grace & Mercy, such as the traders

Tomita and Daiki Taniguchi, Archegos’s compliance head, Michael Satine, and Archegos’s co-

president and human resources officer, Diana Pae. Hwang made efforts to hire others, too, but his

offers were ignored or declined. At the same time, those that had previously done part-time work

for Grace & Mercy, like Halligan and Mills, suddenly received massive pay increases. 2 As a result,


2
        In Grace & Mercy’s publicly filed Form PF for Tax Year 2019, Halligan was identified as
treasurer, was reported to work an average of five hours per week, and received no compensation.
In Tax Year 2020, Halligan was identified as treasurer and was reported to have worked five hours


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Grace & Mercy has spent millions of its purportedly charitable funds on the salaries of the people

who witnessed Hwang’s crimes at Archegos.



IV.        GUIDELINES CALCULATION

           The Government and Probation Office agree that the applicable Guidelines sentence is

2,400 months’ imprisonment, based on an offense level of 43, a Criminal History Category of I,

and a maximum statutorily authorized sentence of 200 years’ imprisonment. (PSR ¶¶ 43, 185-86).


           A.     The Applicable Guidelines

           Though the Government agrees with Probation that Hwang’s offense results in a total

adjusted offense level of 43, the Government and Probation differ slightly in how they reach that

result. The Government respectfully requests that the Court adopt the following computation:

      •    Base offense level of 7, pursuant to § 2B1.1(a);
      •    An increase of 30 levels because the offense involved losses in excess of $550 million,
           pursuant to § 2B1.1(b)(1)(k);
      •    An increase of 2 levels because the offense involved 10 or more victims, pursuant
           to § 2B1.1(b)(2);
      •    An increase of 2 levels because Hwang committed the offense in violation of a prior
           judicial order, pursuant to § 2B1.1(b)(9);
      •    An increase of 2 levels because the offense used sophisticated means, pursuant
           to § 2B1.1(b)(10);
      •    An increase of 2 levels because Hwang received gross receipts in excess of $1,000,000,
           pursuant to § 2B1.1(b)(17)(A); and
      •    An increase of 4 levels because Hwang played a leadership role in the offense, pursuant to
           § 3B1.1.




per week, and received no compensation. In Tax Year 2021, Halligan was again identified as
treasurer, but now purportedly worked 40 hours per week and received base pay of more than
$400,000.

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The adjusted offense level of 49 becomes a total adjusted offense level of 43, the maximum offense

level, by operation of Chapter 5, Part A (cmt. 2). Based upon these calculations, Hwang’s advisory

Guidelines imprisonment range is life. (PSR ¶ 186). However, because the statutorily authorized

maximum sentence is 200 years’ imprisonment, which is less than life imprisonment, so the

applicable Guidelines sentence is the statutory maximum: 200 years’ (2,400 months)

imprisonment. U.S.S.G. §§ 5G1.1(a), 5G1.2(d).

       B.      The Evidence Supports the Government’s and Probation’s Guidelines
               Calculation

       The trial proof, record evidence, and PSR support the Government’s and Probation’s

Guidelines calculation and an offense level of 43. Hwang argues that no enhancements apply to

his conduct other than the leadership enhancement and thus, by operation of U.S.S.G. § 2E1.1, the

offense level is 19. As set forth below, however, Hwang misconstrues the law and the factual

record and his Guidelines calculation is incorrect.

                   1. The Offense Involved an Actual Loss in Excess of $550 Million

       As the Court heard from multiple witnesses at trial, Hwang’s offenses caused losses to

banks and counterparties and caused extraordinary distortions of market prices for numerous

securities. Whatever reasonable estimate the Court may choose to employ to compute the harm of

Hwang’s schemes, the total losses exceed $550 million and, in fact, number in the billions of

dollars. Because Hwang’s offense resulted in losses exceeding $550 million, his Guidelines

offense level increases 30 levels. U.S.S.G. § 2B.1(b)(2)(P).

                       a.     Legal principles
       “Loss” is defined in the Guidelines as “the greater of actual loss or intended loss.” U.S.S.G.

§ 2B1.1, cmt. 3(A). “Actual loss” is defined as “the reasonably foreseeable pecuniary harm that

resulted from the offense.” Id., cmt. 3(A)(i). And “reasonably foreseeable pecuniary harm” is



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defined as “pecuniary harm”—that is, “harm that is monetary or that otherwise is readily

measurable in money”—that “the defendant knew or, under the circumstances, reasonably should

have known, was a potential result of the offense.” Id., cmt. 3(A)(iii), (iv). “Intended loss” is

defined as “the pecuniary harm that the defendant purposely sought to inflict,” and includes any

“intended pecuniary harm that would have been impossible or unlikely to occur.” Id., cmt. 3(A)(ii).

The “Guidelines do not require that the sentencing court calculate the amount of loss with certainty

or precision.” United States v. Bryant, 128 F.3d 74, 75-76 (2d Cir. 1997). Instead, a court “need

only make a reasonable estimate of the loss,” given the “available information.” U.S.S.G. § 2B1.1,

cmt. 3(c); see also United States v. Coppola, 671 F.3d 220, 250 (2d Cir. 2012) (evidence supporting

a Guidelines loss determination “need not . . . establish loss with absolute precision; it need only

permit the district court to make a reasonable estimate of the loss given the available information”).

                       b.      Counterparty Losses
        Hwang’s racketeering conspiracy and fraud offenses directly and proximately caused

billions of dollars to Archegos’s counterparty banks. Hwang and his conspirators used

counterparty banks to facilitate their market manipulation schemes and systematically lied to those

banks in order to obtain the trading relationships, capacity, and margin loans necessary to advance

the scheme. When Hwang’s trading scheme collapsed, the economic harm fell sharply on

Archegos’s counterparties who had been misled about the risk of doing business with Archegos.

Based on the trial record, evidence supplied by various victims, and additional documentary proof

in the record (including those attached to the submissions of the parties), the Court can easily

determine by a preponderance of the evidence that Hwang’s offenses resulted in actual losses

totaling billions.

        Hwang contends that his Guidelines may not be adjusted for any losses suffered by the

counterparties. Hwang principally claims that he “had virtually no involvement” in the

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misrepresentation scheme, so he cannot be responsible for any losses that flowed from it. (Hwang

Sentencing Mem. at 44). To reach this conclusion, however, Hwang indulges in fantasy: he

dismisses the cooperator testimony as conclusory (“Mr. Tomita made general statements”), recalls

the cross-examinations to be definitively exonerating (“the examples offered at trial fell apart

under scrutiny”), and assumes the jury accepted his factual arguments (“Trial testimony made clear

that Mr. Hwang did not direct any material misrepresentations that led to a loss by a counterparty

bank”). (Hwang Sentencing Mem. at 44, 44-48). Hwang continues the counterfactual by ignoring

proof regarding his awareness and encouragement of the deceptions undertaken by others, his

participation in crafting misleading statements to share to the banks during the week of Archegos’s

collapse, and the lies he personally uttered in a last-ditch effort to keep his scheme alive. (Hwang

Sentencing Mem. at 44-48). But Hwang’s narrative was decisively rejected by the jury, which

convicted Hwang not just of participating in the securities fraud and wire fraud schemes related to

the effort to mislead Archegos’s counterparties but also of conspiring to run Archegos through a

pattern of fraud. (ECF Doc. 249 (verdict form)).

       Hwang’s arguments against accountability also run counter to the Guidelines’ legal

framework. First, the relevant inquiry under the Guidelines is not, as Hwang would have it,

whether he specifically directed a particular misrepresentation that itself caused a loss. Rather, the

question is whether there was reasonably foreseeable pecuniary harm—that is, “pecuniary harm

that the defendant knew or, under the circumstances, reasonably should have known, was a

potential result of the offense.” U.S.S.G. § 2B1.1(b)(1)(C). Hwang’s offenses included

manipulating the market for a number of publicly traded stocks and inducing counterparties to

make trades that furthered the market manipulation. As discussed further below, as part of those

schemes, Hwang caused his counterparties to take positions in certain stocks which led to losses



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to the counterparties. There is simply no plausible argument, and certainly Hwang does not

advance one, that the losses caused by those positions constituted a pecuniary harm that Hwang

knew or should have known was a potential result of his offense conduct.

        Second, the Guidelines instruct that a defendant is responsible for specific offense

characteristics based on “all acts and omissions committed, aided, abetted, counseled, commanded,

induced, procured, or willfully caused by the defendant.” U.S.S.G. § 1B1.3(a)(1). As relevant here,

that means Hwang is responsible for the losses caused by conduct he committed as well as the

conduct he aided or abetted or directed. The trial proof—including the testimony of two of

Hwang’s senior employees and conspirators—demonstrated that Hwang trained his employees to

engage in deception and expected them to do what it took to achieve his goals. Among other things,

Becker described how it “was part of my job” to lie to Archegos’s counterparties, an understanding

he obtained from Tomita, Halligan, and Hwang. (Trial Tr. 803-04). Tomita, for his part, recounted

how he lied to banks because “I was instructed to do so by my former boss,” Hwang. (Trial Tr.

3039). Accordingly, the Guidelines hold Hwang responsible for the consequences of Becker’s and

Tomita’s misrepresentations because Hwang directed and aided and abetted those lies.

        In addition, and in the alternative, Hwang is also responsible for specific offense

characteristics based on the acts and omissions of others when they are (i) within the scope of

jointly undertaken criminal activity, (ii) in furtherance of that criminal activity, and (iii) reasonably

foreseeable in connection with that criminal activity. U.S.S.G. § 1B1.3(a)(1)(B). Here, that means

Hwang is responsible for counterparty losses caused by the conduct of other participants in the

conspiracy. There can be no serious dispute that the specific lies told by Becker, Tomita, and

Halligan to Archegos’s counterparties were in furtherance of jointly undertaken criminal activity.

Tomita testified that he was “telling lies and materially misleading information to banks in



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exchange for them to finance our trades and lend us money,” that is to enable Hwang’s trading.

(Trial Tr. 3040). Similarly, Becker testified that he was “directed to lie to banks so that they would

increase additional capacity for Archegos.” (Trial Tr. 848). The conspirators’ lies to Archegos’s

counterparties were told for Hwang’s benefit—not the personal benefit of any Halligan, Becker,

or Tomita—and the lies were calculated to achieve Hwang’s desired arrangement: more

counterparties, more trading capacity, and lower margin rates. Accordingly, even if the losses

resulted exclusively from misconduct of others within the conspiracy, Hwang bears legal

responsibility for them as losses that flow from jointly undertaken criminal conduct.

       Faced with blackletter law that supports the loss enhancement, Hwang is left to argue that

his conspirators’ lies were unforeseeable to him because he expected his employees to treat

counterparties “fairly” and because his conspirators did not apprise him of every lie they told.

(E.g., Hwang Sentencing Mem. at 46). The jury, however, rejected Hwang’s head-in-the-sand

theory of the defense. Indeed, by convicting Hwang of the substantive wire fraud and securities

fraud counts regarding the misrepresentation scheme, the jury necessarily found that Hwang knew

of, and shared in, the scheme’s goal to mislead Archegos’s counterparties by defrauding them.

Recognizing that the danger the guilty verdict poses to his continued assertions of innocence,

Hwang simply argues that no rational jury could have convicted him. (Hwang Sentencing Mem.

at 44 n.18 (challenging the verdict on sufficiency grounds). But, of course, the jury heard that

Hwang himself joined in on the lying, particularly during a March 25, 2021 conference with

numerous counterparties when he falsely told Archegos’s counterparties they could be made whole

in two to three weeks and that Archegos’s top positions were highly liquid. (GX 2504 (recording

of March 25, 2021 call)). Hwang dismisses that episode as causally irrelevant to the banks’ losses,

but, as the Government argued to the jury, Hwang’s behavior on the call shows Hwang knew of



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and endorsed the scheme to mislead Archegos’s counterparty banks just as the cooperating

witnesses said he had. And the jury also saw evidence in the form of emails written by Hwang

himself directing Tomita to engage in conduct designed to mislead a counterparty. (GX 133).

Accordingly, Hwang cannot claim now that his conspirators’ conduct was unforeseeable to him.

       Under Second Circuit law, one measure of loss attributable to the racketeering conspiracy

is the total amount of lending or investment the counterparty banks were induced to make

following the onset of the conspiracy, less the value of collateral. See, e.g., United States v. Turk,

626 F.3d 743, 748-51 (2d Cir. 2010) (holding that unpaid principal amounts were foreseeable loss

in mortgage fraud). Moreover, in the context of restitution, the Circuit has considered and rejected

the notion that losses must be adjusted for subsequent declines in the value of collateral attributable

to other causes. United States v. Paul, 634 F.3d 668, 676-78 (2d Cir. 2011). Where “the making

of the loan” leads to the loss, it is irrelevant that “independent market forces may have contributed”

to the degree of loss by depressing the value of collateral. Id. at 677-78.

       The Archegos conspirators’ conduct resulted in losses to Archegos’s counterparty banks

by inducing margin lending and trading relationships that led to loss. Based on the Circuit’s

guidance in Turk and Paul, the counterparty’s losses are attributable to Hwang and his conspirators

because none of the loans or trades would have been made but for the fraud and because the fraud

concealed the very risk that materialized. Turk, 626 F.3d at 748; Paul, 634 F.3d at 677-78. The

Government introduced evidence that Archegos’s counterparties expected to receive truthful

information, relied on the information they received from Archegos to begin, continue, and expand

their counterparty financing and trading relationships, and would not have done business with

Archegos if they had received accurate and complete information. (E.g., Trial Tr. 116, 119, 184

(Fairbanks); Trial Tr. 707 (Miranda); Trial Tr. 1815 (Boccuzzi)). The conspirators themselves



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understood this dynamic. As Tomita explained, “if the banks knew the full picture of the level of

risk and the size of our positions, they would have essentially fired us as a client immediately and

liquidated the portfolio.” (Trial Tr. 3052).

       To take one specific example from the trial: A UBS credit risk officer testified that

Archegos’s portfolio composition, liquidity, and concentration mattered to the bank’s decisions

about doing business with Archegos. (See Trial Tr. 101-94, 205-63 (Fairbanks)). The credit officer

further testified that he would have been “horrified” to learn that Archegos’s portfolio was more

heavily concentrated in its positions than Becker had described and that UBS “probably would

have hit the panic button” if it had discovered the truth, adding that in such a circumstance “[w]e

would raise margins on the client and potentially ask them to leave, and we’d fire the client.” (Trial

Tr. 184; see also Trial Tr. 160 (Fairbanks: “We would have rejected the increase because that

would be too much risk.”)). Another UBS risk employee testified similarly, explaining that if the

Archegos had a concentrated portfolio “[t]he margin framework would have determined that there

be no lending here, that his portfolio overall would not be financeable.” (See Trial Tr. 1913

(Salcedo)). Each of the witnesses explained that Archegos’s portfolio concentration and liquidity

statistics directly related to assessments of whether Archegos could repay UBS on its margin loans

by selling collateral and hedge its swaps by trading in the market, including by evaluating whether

other counterparties would likely be selling the same hedges and depress their value. (Trial Tr. 149

(Fairbanks) (“I wanted to make sure that there wasn’t ten other banks selling the same name.”);

Trial Tr. 1896 (Salcedo) (“We were lender to Archegos. And the concentration mattered because

. . . at their size, it stated to become a liquidity concern”)). The fact that Archegos’s

misrepresentations misled the banks’ assessments of this risk was their purpose to begin with: As




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Tomita explained, the lies “big picture were concealing the level of risk of the Archegos portfolio.”

(Trial Tr. 3052).

       The very scenario that UBS had sought to avoid—where Archegos’s portfolio

concentration and liquidity subjected UBS to market losses—is precisely the scenario that

materialized in March 2021. Witnesses explained how the value of Archegos’s positions fell

precipitously and UBS was unable to unwind its swaps with Archegos without incurring

substantial losses. (Trial Tr. 1744 (Tropper)). The witness, who personally handled aspects of the

Archegos unwind activity at UBS, estimated those losses to be around $860 million. (See Tr. 1749-

53 (Tropper)). UBS also recorded its loss calculation in a detailed spreadsheet, which the

Government also offered into evidence. (See GX 2189). That spreadsheet, too, demonstrates losses

of approximately $860 million. UBS has since supplied additional loss information, further

confirming losses of approximately $860 million. (See, e.g., September 30, 2024 Decl. of A.

Brudner).

       Taken together, the trial proof and record evidence show that (a) Hwang’s conspiracy and

schemes caused pecuniary harm to UBS, (b) the harm that resulted from the schemes was entirely

foreseeable to Hwang and, in fact, was the likely harm that the scheme sought to conceal in the

first place, and (c) the losses amounted to approximately $860 million. Accordingly, even if UBS’s

losses were the only losses that resulted from Hwang’s offenses—and they are not—they would

suffice to trigger the 30-level loss adjustment because they exceed $550 million.

       Though the total amount of counterparty losses is not necessary to determine the

application of the 30-level loss enhancement, the Court should nevertheless make additional loss

findings because they bear on the number-of-victims enhancement and restitution. Specifically,

the Court should find as follows:



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Table 1 - Counterparty Losses

 Victim Group                      Approximate Losses           Selected Record Evidence

 Credit Suisse (Credit Suisse      $5,325,169,922               Testimony of Will Tomita;
 International; Credit Suisse                                   Testimony of Scott Becker;
 Securities (USA) LLC)                                          Testimony of Joshua
                                                                Lukeman; Declaration of K.
                                                                Fletcher dated September 30,
                                                                2024

 Nomura (Nomura                    $2,308,422,273.45            Testimony of Will Tomita;
 International PLC; Nomura                                      Testimony of Scott Becker;
 Securities International, Inc.;                                Letter from P. Neiman to
 Nomura Global Financial                                        USAO, dated September 9,
 Productions Inc.)                                              2004, citing NSI-ACM-
                                                                00038001 through NSI-
                                                                ACM-0038008.

 UBS (UBS AG; UBS                  $860,268,783.00              Testimony of Will Tomita;
 Securities LLC)                                                Testimony of Scott Becker;
                                                                Testimony of Giselle
                                                                Tropper; Testimony of Brian
                                                                Fairbanks; Testimony of
                                                                Chris Salcedo; Declaration of
                                                                A. Brudner, dated September
                                                                30, 2024; Letter from A.
                                                                Brudner to USAO dated
                                                                September 30, 2024; GX
                                                                2189.

 Morgan Stanley (Morgan            $911,000,000                 Testimony of Will Tomita;
 Stanley & Co. LLC, Morgan                                      Testimony of Scott Becker;
 Stanley Capital Services                                       November 14, 2024 Letter
 LLC, and Morgan Stanley &                                      from T. Martins; November
 Co. International Plc.)                                        14, 2024 Declaration of P.
                                                                Kouch.

 MUFG (MUFG Securities             $263,632,638                 Testimony of Will Tomita;
 EMEA Plc.; MUFG                                                Testimony of Scott Becker;
 Securities Americas)                                           Letter from W. Reckler to
                                                                USAO, dated September 16,
                                                                2024, citing MUFG-
                                                                Archegos0006302 and
                                                                MUFG-Archegos0006309.




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 Macquarie (Macquarie Bank       $35,558,531.06                     Testimony of Will Tomita;
 Ltd.)                                                              Testimony of Scott Becker;
                                                                    Letter from R. Park to USAO,
                                                                    dated October 24, 2024;
                                                                    MACQ_0025923-24.

 Mizuho (Mizuho Capital          $149,305,810                       Testimony of Will Tomita;
 Markets LLC, Mizuho                                                Testimony of Scott Becker;
 Securities USA LLC, Mizuho                                         Exhibit D to Thomas Decl,
 Americas)                                                          MIZU-0048047 .

 Jefferies (Jefferies LLC and    $39.947,756.84                     Testimony of Will Tomita;
 Jefferies Financial Products                                       Testimony of Scott Becker;
 LLC)                                                               Testimony of Jennifer
                                                                    Miranda; Declaration of J.
                                                                    Miranda, dated October 4,
                                                                    2024

 BMO Capital Markets             $5,647,545.87                      Testimony of Will Tomita;
                                                                    Testimony of Scott Becker;
                                                                    Testimony of Joseph
                                                                    Boccuzzi; Exhibit I to
                                                                    Thomas Decl,
                                                                    BMO00005026.

 TOTAL                           $9,859,005,504



       As with UBS, every other counterparty bank tabulated the losses that resulted from the

trading relationship with Archegos, essentially representing what they loaned to Archegos less

what they were able to recover from the sale of collateral. As set forth in Table 1, above, those

losses approach $10 billion and the losses of four counterparty groups (Credit Suisse, Nomura,

Morgan Stanley, and UBS) each independently suffered losses in excess of $550 million, thus each

independently justifying the application of the loss enhancement.

       Hwang attempts to go bank-by-bank to explain why he should not be held responsible for

these losses. The Court should reject each of Hwang’s arguments. For the most part, Hwang simply

renews his legal claim that he cannot be responsible for any losses because he personally did not



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induce the banks to do business with Archegos through fraud. This argument is wrong no matter

how many times Hwang repeats it. See generally U.S.S.G. § 1B1.3; see also United States v.

Marino, 654 F.3d 310, 321-24 (2d Cir. 2011) (holding, in the context of restitution, that

defendant’s essential role in a securities fraud scheme was a direct and proximate cause of victim

losses notwithstanding that his conduct was less serious than other conspirators).

       To the extent Hwang challenges the nexus between a particular bank’s losses and Hwang’s

conspiracy, it is typically to point out that the Government did not call witnesses from every bank

to testify. That, of course, is not a prerequisite for a loss finding. Moreover, while the Government

stands ready to present witnesses from each and every bank at a Fatico hearing should the Court

desire it, the record already permits the Court to make loss findings as to each bank by a

preponderance. Multiple witnesses described—and Hwang does not dispute—that each of the

counterparties was in fact an Archegos counterparty. Nor is there any serious dispute that each

counterparty suffered economic losses in the approximate amount they have identified. Rather,

Hwang seeks to break the link between his schemes and the counterparties’ losses. The trial proof

does not allow it.

       Hwang’s fraud and manipulation schemes caused the victim losses. Multiple bank

employees testified generally about client due diligence and risk assessments and why information

about liquidity and concentration played an essential role in business assessments for swap

counterparties and primer brokers. (E.g., Trial Tr. 116, 119 (Fairbanks); Trial Tr. 707 (Miranda);

Trial Tr. 1815 (Boccuzzi)). Multiple witnesses described how, if presented with accurate

information, they would have terminated their business with Archegos. (E.g., Trial Tr. 184

(Fairbanks); Tr. 3052 (Tomita)). One witness even described how BMO had initially refused to

onboard Archegos, only to reverse after received false assurances about its business practices.



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(Trial Tr. 1830-1837 (Boccuzzi)). Documentary and witness testimony showed that Hwang’s

conspirators systematically lied to Archegos’s counterparties precisely to obtain the trading

relationships and capacity the truth would have denied them. (E.g., Trial Tr. 804 (Becker admitting

that he lied to “all of Archegos’s counterparties); Trial Tr. 897 (Becker explaining that Halligan

instructed him to lie about concentration and the portfolio); Trial Tr. 3052 (Tomita acknowledging

banks would not have done business with Archegos if they knew the truth); Trial Tr. 3429 (Tomita

describing how the lies concealed Archegos’s portfolio risk from counterparties)). And many

witnesses described how Archegos’s positions—the same positions Hwang had artificially

manipulated—collapsed in March 2021, directly precipitating the banks losses. The totality of this

evidence enables the Court to find the required nexus between the conspiracy’s conduct and the

bank’s losses for the purposes of the Guidelines enhancement. Indeed, as the Second Circuit has

observed in the context of establishing loss, “circumstantial evidence will do.” United States v.

Mensah, 110 F.4th 510, 532 (2d Cir. 2024). Here, similar to the Second Circuit’s reasoning in

Paul, where the margin “loans were admittedly a significant part of the greater fraud” and the

“brokerage houses would not have made the loans” had they known how they would be used, the

entire value of the unrecovered principal is “loss.” See 634 F.3d at 677.

       Hwang also makes one last effort to blame the victims for their losses. Without citing any

law whatsoever, Hwang contends that he cannot be responsible for losses his victims were not

savvy enough to avoid. (Hwang Sentencing Mem. at 49 (citing report of Credit Suisse special

committee, which identified internal risk management failures)). But the Guidelines provide

defendants with no contributory negligence theory, speaking instead of accounting for “reasonably

foreseeable pecuniary harm that resulted from the offense,” U.S.S.G. § 2B1.1 Notes to Loss Table,

and the Second Circuit has rejected an argument for the use of contributory negligence theory in



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the context of restitution awards. See United States v. Zafar, 291 F. App’x 425, 429 (2d Cir. 2008)

(“Nothing in the detailed provisions of the [Restitution Act] contemplates that a defendant guilty

of criminal fraud can escape mandatory restitution by requiring district courts to conduct mini-

trials on the possible contributory negligence of the very persons victimized by the defendant.”);

see also United States v. Agnew, 171 F. App’x 376, 379 (2d Cir. 2006) (“We additional reject

Agnew’s claim that the Department of Labor had a duty to mitigate its damages once a criminal

investigation was underway against Agnew.”).

                      c.      Archegos and Employee Losses
       In addition to the Counterparties, Hwang victimized the Archegos entities, namely

Archegos Fund L.P. and Archegos Capital Management, as well as Archegos’s innocent

employees.

       In the context of RICO, the law recognizes that “the enterprise itself is often a passive

instrument or victim of the racketeering activity.” Bennett v. U.S. Trust Co. of New York, 770 F.2d

308, 315 (2d Cir. 1985). Here, Hwang’s criminal activity cannibalized Archegos’s assets to

advance Hwang’s criminal designs and ultimately destroyed them. Indeed, Hwang himself

concedes these losses. (Hwang Sentencing Mem. at 53 (“[A]s was shown at trial, Mr. Hwang lost

billions of dollars as a result of Archegos’s collapse.”)). The proof at trial demonstrated that

Archegos’s net capital, as of April 1, 2020 stood at approximately $1,418,431,946 and, by March

29, 2021 exceeded negative $5,782,285,151 billion. (Compare GX-464 (April 2020 Combo Sheet)

with GX- 475 (March 2021 Combo Sheet)). 3 Accordingly, the Court can find that Archegos’s

losses totaled approximately $7.3 billion, and, in any event, exceeded $550 million. On this basis,


3
 By taking a starting figure shortly after the COVID-related market sell-off, and by taking an
ending figure before Archegos had received loss information from each bank, this figure is a
conservative estimate of Archegos’s losses.

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Hwang’s Guidelines must reflect a 30-point loss increase regardless of whether any Archegos

counterparty also suffered losses.

       The Archegos entities’ losses also encompass the loss of deferred compensation amounts

due to individual employees. As Brian Jones testified at trial, Archegos required its employees to

defer a portion of their annual compensation. Archegos Capital Management had an obligation to

provide that compensation, as it set forth in annual letters to its employees. (See, e.g., Exhibits A

and B to September 5, 2024 Letter from R. Lawler). When Archegos Fund collapsed into

insolvency, so, too, did Archegos Capital Management’s ability to deliver on its deferred

compensation guarantees. The result was that dozens of Archegos employees suffered pecuniary

harm in the form of lost deferred compensation, much of which the employees had no choice but

to leave in Hwang’s care. (See, e.g., September 5, 2024 Letter re Cindy Huang; Tr. 698 (Jones);

November 13, 2024 Letter re Brendan Sullivan)). Based on Archegos’s own records of the plan

value as of September 30, 2020, the total amount of mandatory deferred bonuses by all employees

was $61,857,761.17. (See Exhibit F to Thomas Decl.). The amount is approximately

$33,068,780.91 taking only mandatory deferrals and excluding conspirators. (See Exhibit G to

Thomas Decl.).

                       d.      Market Losses
       Hwang’s conduct also caused losses to participants in the securities markets. Because

Hwang manipulated the prices of securities, a circumstance anticipated by the Guidelines to

require special consideration in fixing loss, the Court may use any method appropriate and

practical under the circumstances to estimate the appropriate loss. Note 3(E)(ix) to U.S.S.G.

§ 2B1.1. Here, one potential method would be to take the change in the value of Archegos’s assets

during the scheme as a measure of the amount of inflation. Indeed, the Second Circuit has held

that “a sentencing court’s methodology was not ‘too crude’ when it calculated a loss amount based

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on two factors: the total profits of the scheme and testimony as to the underlying percentage that

was fraudulent.” United States v. Rainford, 110 F.4th 455, 476 (2d Cir. 2024). Using that approach

based on Archegos Combo sheets, which are in evidence, results in a figure in excess of $30 billion

(compare GX 464 (April 2020 Combo sheets) with GX 475 (March 2021 combo sheets)). Even if

the Court assumed that only 5% of the increase could be attributable to Hwang’s trade strategies—

a preposterously low estimate in light of the trial evidence regarding Hwang’s control of the

markets—the resulting inflation amount would still exceed $550 million and thus trigger the 30-

level loss enhancement.

       Additionally, the Guidelines themselves identify another possible method for computing

the loss figure in a case involving manipulated securities prices. See Note 3(E)(ix) to U.S.S.G.

§ 2B1.1. Specifically, the Guidelines authorize “a method under which the actual loss attributable

to the change in the value of the security” is the amount reflecting the difference in the average

price of a security during the period the fraud occurred and the period after the fraud was disclosed

to the market, multiplied by the number of shares outstanding. Id. The record already contains

exhibits reflecting the share prices and shares outstanding for the various securities and from those

exhibits the Court could apply the Note 3(E) method to compute billions in losses. (GX 4021B

(Center for Research in Securities Prices Data)). Dr. Carmen Taveras, an SEC economist who

testified at trial, has preliminarily applied the Note 3(E) method to the price movements in VIAC,

DISCA, DISCK, GSX, and VIPS and estimated that the total losses from manipulation of those

securities alone totals approximately $15.254 billion. Should the Court wish to hold a Fatico

hearing on loss, the Government will be prepared to re-call Dr. Taveras to present her calculations.

       Hwang preemptively assails any measure of market losses by arguing that any price

movements in the manipulated securities cannot be disentangled from other market forces and so



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cannot be calculated at all. As the jury concluded, however, Hwang did alter the prices of multiple

securities as part of his scheme, including Viacom, Discovery, GSX, and VIPS. Indeed, Dr. Robert

Battalio testified at length that Hwang’s trading method distorted securities prices and, in fact, led

to accumulated price changes over time. (E.g., Trial Tr. 2886-91). The collapse of the prices of the

manipulated securities once Hwang stopped buying them only further proves that his conduct was

responsible for a substantial part of the price change. In any event, should the Court wish to hold

a Fatico hearing on loss, the Government would also be prepared to elicit from Dr. Taveras

testimony regarding various methods to conservatively value the portion of stock-drop loss

attributable to Hwang. For example, Dr. Taveras would be prepared to present a regression analysis

of the price-drop event that estimates market losses from Hwang’s trading at approximately $3.5

billion. Because the trial proof demonstrated that Hwang manipulated other securities, too, such

as FUTU and Rocket, this estimate will undercount the total distortion Hwang caused in the

markets.

       Using the change in value of Archegos’s assets, using the Guidelines method described in

Note 3(E), or using a conservative price-drop event analysis all lead to the same result: a loss in

excess of $550 million.

                       e.      Gain
       As set forth above, the Court can and should find actual losses and apply the 30-level

Guideline enhancement accordingly. Were the Court to accept the defendants’ arguments that no

loss can reasonably be determined, then the Court should compute gain. See Note B to § 2B1.1

Loss Table (“The court shall use the gain that resulted from the offense as an alternative measure

of loss only if there is a loss but it reasonably cannot be determined.”). Notwithstanding Hwang’s

repeated claims that he did not profit from his scheme, he did gain from it: first, Hwang obtained

margin loans from Archegos’s counterparties and, second, Hwang used those margin loans—and

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the profits of manipulative trading—to pay for additional trades. That Hwang’s use of these gains

eventually led to losses does not alter the fact they once existed and that he obtained them. One

method to estimate Hwang’s gains would be to take the value of the manipulated assets at the

height of the scheme, such as follows:



Table 2 – Gain Represented as Inflated Securities Prices

 Ticker                                           Value as of March 23, 2021 (GX-475)

 VIAC                                             26,968,575,055

 DISCA                                            7,297,664,891

 DISCK                                            6,055,870,820

 GSX                                              7,350,687,006

 VIPS                                             7,878,454,275

 Total:                                           55,551,252,047



          Alternatively, the Court could make gain findings from the amounts that the conspiracy

withdrew from its counterparty accounts. (These amounts are discussed further below in

connection with forfeiture and collectively total billions.) Taking UBS as an example, between

October 1, 2020 and March 24, 2021, Archegos withdrew more than $831 million. (Exhibit E to

Thomas Decl.). Indeed, a UBS witness described how Archegos withdrew hundreds of millions

from UBS even as it recognized that insolvency loomed. (Trial Tr. 213-14 (Q: “Now, that 173

million increase, where did that come from? A: That was the gains that they had previously

received.”) (Fairbanks)). The amounts withdrawn from UBS alone exceed $550 million, thus




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triggering the 30-level enhancement, and UBS is but one of many banks from which Archegos

withdrew hundreds of millions of dollars of excess margin.

                   2. The Offense Included More than 10 Victims

       As established by the trial proof and other record evidence, at least three categories of

victims suffered losses because of the defendant: (a) financial institutions, (b) market participants,

and (c) innocent Archegos employees. Any of those groups considered alone or taken together

includes more than ten loss-suffering victims. Accordingly, Hwang’s offense level must be

increased by 2. See U.S.S.G. § 2B1.1(b)(2).

       First, the offense victimized more than 10 counterparty business entities. As reflected in

the trial proof and further detailed by the various victim impact statements so far received from

financial institutions, multiple financial institutions suffered losses as a result of Hwang’s offenses.

       Hwang argues that only eight financial institutions suffered losses and therefore only eight

victims of the offense exist. (Hwang Sentencing Mem. at 54). Hwang ignores, however, that

certain institutional groups are composed of various distinct legal entities that each suffered losses.

For example, Morgan Stanley had three business firms that suffered losses: Morgan Stanley & Co.

LLC, Morgan Stanley Capital Services LLC, and Morgan Stanley & Co. International Plc. (See

Decl. of P. Kouch.). Similarly, Jefferies had at least two entities suffer losses, Jefferies LLC and

Jefferies Financial Products LLC. (See Declaration of J. Miranda). Counting each business victim

individually, as required by the Guidelines, results in more than 10 victims with determined losses.

       Second, Hwang’s offense victimized dozens of Archegos employees and Archegos itself.

As reflected in the trial proof and further detailed by the various victim impact statements so far

received from former employees, multiple Archegos employees lost their deferred compensation

as a result of Hwang’s offenses. Indeed, the number of employee victims greatly exceeds ten. (See,



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e.g., Tr. 37 (Jones) (describing deferred compensation program and estimating the number of

Archegos employees at 50); Exhibit G to Thomas Decl.). The Court can conclude, based on this

category alone, that the number of victims of the offenses exceeds 10.

       Hwang argues that these employees are not victims because they were “downstream of the

collapse of Archegos, which itself was caused by the decline in the value of Archegos’s

investments (and not purported misrepresentations).” (Hwang Sentencing Mem. at 54. n.20). But

Hwang cites no authority to support his view. And his claim that the collapse of Archegos was

“caused by the decline in the value of Archegos’s investments” ignores that the collapse of

securities prices was the foreseeable and, perhaps, inevitable consequence of Hwang’s

manipulations and misrepresentations. Had Hwang not engaged in the schemes he did in 2020 and

2021, his employees would not have lost millions. More simply, Hwang did not set aside the funds

he needed to guarantee the deferred compensation—he used those funds for the fraud.

       Third, as reflected in the trial proof and discussed above, Hwang caused artificial increases

and decreases in the prices of multiple publicly traded stocks. In so doing, Hwang caused losses

to innumerable other traders who bought at artificially inflated prices through the marketplace.

The trial proof included market transaction data that showed many thousands of transactions in the

manipulated stocks during the scheme. (GX 4012A & 4012B (EMSX trade data); GX 4019A

(TAQ trade data)). That proof, plus additional testimony that demonstrated a portion of the trading

related to retail traders, that the number of loss-holding trading victims exceeds 10. Hwang’s

technical objection the Court cannot count as victims market participants without first finding

“actual loss” for them ignores that such a finding can and should be made here, as discussed above.

Notwithstanding Hwang’s arguments to the contrary, the Second Circuit’s guidance in United

States v. Skys does not counsel otherwise. In Skys, the Circuit found error in the district court’s



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application of the number-of-victims enhancements when only intended loss, not actual loss, was

found. 637 F.3d 146, 154-55 (2d Cir. 2011). The market losses here actually occurred and can be

reasonably estimated. That the subset of those losses cannot be reasonably apportioned to

individual victims does not mean that Hwang can escape the enhancement for having more than

10 victims; it means he has more victims that can be counted.

       The PSR correctly applies the 2-level enhancement for 10 or more victims.

                   3. Sophisticated means

       Hwang also disputes the 2-level adjustment for sophisticated means provided in U.S.S.G.

§ 2B1.1(b)(9)(C). According to Hwang, the enhancement cannot be supported by the Guidelines

or the law. (Hwang Sentencing Mem. at 57). But the trial evidence demonstrated that Hwang’s

schemes involved a “complex web of fraud” that requires the application of the 2-level

enhancement. See United States v. Ojemen, 465 F. App’x 69, 72 (2d Cir. 2012).

       The “sophisticated means” that trigger the offense level enhancement relate to “especially

complex or especially intricate offense conduct pertaining to the execution or concealment of an

offense.” U.S.S.G. § 2B1.1 App. N. 8(B). “[E]ven if each step in the scheme was not elaborate,

the total scheme [may be] sophisticated [when] all the steps [are] linked together.” United States

v. Jackson, 346 F.3d 22, 25 (2d Cir. 2003). Here, uncontroverted trial evidence revealed that

Hwang’s schemes involved multiple culpable participants, a dozen financial counterparties,

leveraged financial transactions, bespoke derivative instruments, deliberate efforts to avoid

transaction reporting requirements that would betray the existence of the scheme to counterparties

and regulators, systematic lies to mislead counterparties about the conspirators’ conduct, and

numerous technical trading strategies. Hwang’s assertion that “[t]he conduct at issue here lacks all

hallmarks of sophistication” (Hwang Sentencing Mem. at 55) beggars belief.



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       Much of Hwang’s objection appears to be premised, not on the actual circumstances of his

conduct, but on the wording of two particular PSR paragraph that relate to the sophisticated means

enhancement. (See Hwang Sentencing Mem. at 55 (citing PSR ¶¶ 105, 132)). The Government

therefore proposes to amend those PSR paragraphs to describe more fully the sophistication

employed here and to reflect the trial proof. Specifically, the Court should amend the PSR to state:

“Hwang’s schemes at Archegos made use of sophisticated means. Hwang and his subordinates

used the resources and business relationships of a hedge fund to systematically mislead multiple

counterparties, to access margin lending and trading capacity, to trade derivative instruments in

purposefully calibrated ways to alter market prices for the benefit of the scheme, and to structure

transactions to avoid regulatory reporting requirements.” So described, the conduct is not merely

“an omission of information that Archegos was under no legal obligation to disclose,” (Hwang

Sentencing Mem. at 55), but rather an elaborate and organized criminal scheme. Probation is

correct that the sophisticated means enhancement applies.

                   4. Gross receipts

       Hwang’s offense level must be further increased by two levels by operation of Section

2B1.1(b)(17)(A), which applies when the defendant receives gross receipts in excess of more than

$1 million. Without any discussion of law or evidence, Hwang merely asserts that he did not

personally derive more than $1 million in gross receipts. (PSR at 69 (Hwang PSR Objections)).

But abundant—and uncontested—trial evidence demonstrates that Hwang received billions in

margin loans and trading profits from Archegos’s counterparties. Indeed, the Government’s very

first witness at trial described the margin lending arrangement and even recounted a particular

occasion near the end of the scheme when Archegos withdrew $173 million from its account. (Tr.

212-14 (Fairbanks); see also GX 2150 (email reflecting request for wire of $173 million)).



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        Hwang does not explain his objection, so it is difficult to identify his error with precision.

If Hwang’s objection rests on the notion that Hwang subsequently lost the receipts he obtained, so

he did not receive $1,000,000 in profit, he is mistaken; the enhancement “is not limited to the

defendant’s net profit.” See United States v. Goberdhan, 499 F. App’x 63, 65 (2d Cir. 2012). If

Hwang’s objection instead rests on the artifice that the receipts went to Archegos and not him

individually, then it is without a legal basis. While it is true that the gross receipts relevant to the

enhancement must be those received individually by the defendant, rather than by his co-

conspirators, see United States v. Millar, 79 F.3d 338, 346 (2d Cir. 1996), that is what happened

here: Hwang solely controlled Archegos and Hwang had complete discretion on how to dispose of

the trading loans and profits. Archegos’s receipts are his receipts. Hwang may not escape the

application of the enhancement merely because he chose to receive the funds through his business

entity alter ego rather than in a personal banking account.

                    5. Violation of a Prior Judicial Order

        Hwang is subject to a two-level increase for “a violation of any prior, specific judicial or

administrative order, injunction, decree, or process not addressed elsewhere in the guidelines.”

U.S.S.G. § 2B1.1(b)(9). Specifically, on December 14, 2012, the U.S. District Court for the

District of New Jersey permanently enjoined Hwang from violations of Section 10(b) of the

Securities Exchange Act. (See GX 2709). The jury in this case convicted Hwang of criminally

violating that same law. Accordingly, the Section 2B1.1(b)(9) enhancement applies.

        Hwang objects to the enhancement but offers no credible basis for his objection. Rather,

he merely asserts in a footnote that his “conduct with respect to Tiger Asia Management is not

relevant to the offense conduct here and should not play a role in the Court’s decision on

sentencing.” (Hwang Sentencing Mem. at 62 n.21). Hwang does not dispute to the existence of the



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prior judicial order, nor does he articulate any legal authority by which the Guidelines

enhancement would not apply to him even though he did violate a prior judicial order. The

enhancement applies.

                   6. Leader or Organizer

       Finally, Hwang must receive the leader/organizer enhancement pursuant to U.S.S.G.

§ 3B1.1(a). The trial evidence demonstrated that he was the final authority on all matters business,

criminal, or otherwise. Indeed, this one enhancement Hwang does not contest. (Hwang Sentencing

Mem. at 57).

                   7. Sentencing Range

       The PSR correctly computes the offense level to be 43. The offense level adjustments and

role adjustments produce an offense level at or above 43, so the total adjusted offense level

becomes 43. See Notes to Part A, U.S.S.G. Chapter Five. At Criminal History Category I, the

Guidelines sentence is life imprisonment. However, as noted above, because the statutorily

authorized maximum sentence is 200 years’ imprisonment, which is less than life imprisonment,

the applicable Guidelines sentence is 200 years’ (2,400 months) imprisonment. U.S.S.G.

§§ 5G1.1(a), 5G1.2(d).


       C.      There Are No Applicable Departures.

       The defense hints at, but does not expressly seek, a downward departure, based on the

defendant’s role, the loss amount relative to the defendant’s conduct, and the defendant’s personal

philanthropy. (Hwang Sentencing Mem. 62, 68 n.23). While the Court may consider these

arguments and the underlying facts in its Section 3553(a) analysis, the defense has not carried its

burden to show that Hwang qualifies for any departure under the Guidelines. See United States v.

Cotto, 347 F.3d 441, 445 (2d Cir. 2003) (“The defendant bears the burden of proving that he or


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she is entitled to a downward departure.”).

V.     THE SENTENCE

       The Government respectfully submits that the Court should sentence Hwang to a term of

twenty-one years’ imprisonment, forfeit his criminal proceeds, and order him to pay restitution to

his victims. A lengthy sentence of imprisonment is necessary to reflect the severity of the offense,

to deter Hwang and others from committing this crime, and to promote respect for the laws

prohibiting market manipulation and fraud. The Government’s and the Probation Office’s

proposed twenty-one-year sentence would also align with sentences in other cases involving

extraordinary losses and sophisticated wrongdoing.


       A.      The Nature and Circumstances of the Offense Warrant a Lengthy Sentence.

       Hwang led an audacious and multifaceted criminal scheme built on sustained deceptive

conduct. He pursued his schemes out of personal ambition. His crimes distorted the markets and

then collapsed, harming market participants, Archegos’s counterparties, and Hwang’s innocent

employees. A sentence of twenty-one years is appropriate to punish such deliberate and

consequential wrongdoing.

       Hwang’s schemes at Archegos were purposeful and persistent. Nothing about Hwang’s

crimes can be dismissed as a temporary error or diminished as improvident impulse. Hwang

labored daily to manipulate the markets, personally directed thousands of trades designed to alter

market prices, and he persisted in the work for months. Hwang involved multiple employees—

some who recognized his scheme, many who did not—in achieving his ends, effectively

reorienting an entire business firm to serve his goals. For a core group of employees, namely those

in the trading and operations group, Hwang demanded obsessive, relentless focus on his trading

schemes. Hwang deployed extraordinary amounts of capital in service of his plan and directed his



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team to obtain still more, a feat they achieved only by engaging in systematic fraud. And Hwang’s

conduct ended only when the market ended it for him.

       Hwang’s conduct is blameworthy. The engine of Hwang’s offense was deception, and his

purposefully deceptive conduct merits substantial punishment. That deception took many forms.

Most simply, Hwang’s employees, with his encouragement and training, lied to Archegos’s

existing counterparties to get more and more accommodating trading terms and lied to new

potential counterparties to get more capacity to trade. More broadly, however, Hwang’s conduct

deceived investors—and, as the jury found—was calibrated to do so. Hwang tried to “set the tone”

of the stocks, to defend them from adverse price movements, and smashed huge volumes of trades

through at the end of the day to drive up prices and, with them, his portfolio’s performance. The

accumulated magnitude of the deceptive trading eventually led to questions from Wall Street

analysts about what was happening in the markets. (Trial Tr. 2503 (Cahall); GX 5503). It also led

to questions internally within Archegos, from employees who saw the risk of concentration

looming ever larger; questions to which Hwang responded with pique and false assurances. (Trial

Tr. 3317 (Tomita); Trial Tr. 637-38 (Jones); Trial Tr. 2582 (Sullivan)).

       Hwang, incredibly, argues for a significant downward variance because he “did not overtly

and repeatedly lie, did not profit from his alleged offense, and did not perjure himself or fabricate

sham documents.” (Hwang Sentencing Mem. at 62). Almost every part of that assertion is wrong,

however, and it minimizes the essential criminal role Hwang did play. As multiple witnesses

testified—and the jury found—Hwang himself did lie and directed others to lie and he generated

and used billions in trading gains to advance his scheme before losing them. The claim that he did

not fabricate sham documents is true only insofar as one credits Hwang’s claim that he did not

read the document he signed that contained a false statement. (See, e.g., Ex. 3 to K. Fletcher Decl.



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(Credit Suisse-Archegos ISDA)). And Hwang did profit in the sense that he obtained billions from

his trading counterparties and used those billions for fraud. Hwang’s trading the week of March

22, 2021 provides a clear example of how Hwang valued his own success and wealth compared to

that of his victims: when faced with the prospect that his scheme may collapse, Hwang used

Archegos’s remaining billions in an effort to continue his crime even when doing so predictably

worsened the losses for everyone else.

       More generally, however, Hwang fails to grapple with the core features of his conduct: the

fact that he transformed Archegos into a criminal organization and that he manipulated the

markets. Congress made it a crime to run business organizations through fraud in part out of

concern that “money and power are increasingly used to infiltrate and corrupt legitimate

businesses” risking “harm innocent investors” and “weaken[ing] the stability of the Nation’s

economic system.” 84 Stat. 922, Pub. L. 91-452 (Oct. 15, 1970). The antiracketeering laws created

a sanction for the act of running an organization through fraud, separate from and in addition to

the sanction for committing fraud itself. United States v. Boylan, 620 F.2d 359, 361 (2d Cir. 1980).

In repurposing a private hedge fund into an instrument of fraud, Hwang engaged in the very

behavior that Congress identified as pernicious and burdensome to society.

       Similarly, Hwang pays little attention to the fact that he distorted market prices for many

securities and violated Section 9(a)(2) of the Exchange Act. The Second Circuit has described

Section 9(a)(2) as the “very heart” of the Exchange Act and noted that Congress conceived it to

“prevent an individual from dominating the market in a stock for the purpose of conducting a one-

sided market at an artificial level for its own benefit and to the detriment of the investing public.”

Crane Co. v. Westinghouse Air Brake Co., 419 F.2d 787, 794 (2d Cir. 1969). Here, Hwang did just

that and managed to do it in multiple stocks. Hwang’s complaint that he stands to be punished for



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what others have done shows how little responsibility Hwang takes for his own actions. Cf.

(Hwang Sentencing Mem. at 62 (asserting that the “Guidelines range of life imprisonment

premised entirely on misrepresentations made by Mr. Becker”)). The Court should not punish

Hwang for what others have done—it should punish Hwang for rigging the markets and corrupting

a hedge fund.

       Additionally, Hwang’s ability to draw others into dishonest conduct for his benefit stands

out as a distinctive feature of his crimes. As Hwang’s letters of support reflect, Hwang commands

great respect—even devotion—from his employees and mentees. The events at Archegos illustrate

that Hwang was willing to use his personal influence to corrupt others and to corrode institutions.

Indeed, the trial proof demonstrated that Hwang sought to cultivate a culture of reverence and

obedience at Archegos, where employees learned they were to be “good followers” and where

Hwang’s orders were not to be questioned. (Trial Tr. 578 (Jones); Trial Tr. 3317 (Tomita)). Hwang

hired many employees with little experience in finance outside of Archegos and thus little ability

to judge Hwang’s conduct against industry norms. Over time multiple Archegos employees

working in different aspects of his business engaged in deception on Hwang’s behalf, with conduct

ranging from willful misdescription of Archegos’s management structure to misleading statements

about the independence of its compliance function to intentionally false representations regarding

its portfolio and risk. That so many people came to lie and cheat and misdirect for Hwang speaks

to the nature of Hwang’s leadership.

       Finally, Hwang’s conduct had significant consequences. As discussed above, Hwang’s

actions directly led to billions in losses for market participants, billions in losses for Archegos’s

counterparties, and millions in losses for innocent Archegos employees. The losses at Credit Suisse

proved so significant that they contributed to the bank’s eventual distress, the shuttering of its



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prime brokerage business, and its forced acquisition by UBS. 4 Archegos’s collapse led dozens of

people at banks and at Archegos to lose their jobs. Once Hwang’s abuse of total return swaps had

been recognized, the SEC began to consider regulatory changes to prevent others from following

in his example. 5 And Hwang’s manipulation altered the economic decision-making of at least one

major corporation, Viacom, which pursued a seasoned equity offering because its share price had

dramatically increased.


       B.     Specific Deterrence Is Required.

       The need for specific deterrence also weighs heavily in favor of a lengthy custodial

sentence. Hwang argues that he is too old to reoffend and that his poor reputation in the market

will naturally frustrate him from trading on this scale again. (Hwang Sentencing Mem. at 64-65).

These arguments ignore that Hwang already reoffended despite his age and prior reputational

injury. Hwang entered the guilty plea on behalf of Tiger Asia, acknowledging his firm had

committed fraud, and he acknowledged in settling with foreign regulators that he had improperly

manipulated the markets. None of that prevented further misconduct here. If anything, Hwang’s

pique at the investment banks that abandoned him after Tiger Asia seems to have crystalized into

Archegos’s contempt for its counterparties.

       Further still, Hwang accepts no responsibility for what he did, so the Court should have no

confidence that Hwang has learned any lesson from this episode that would prevent him from

returning to the markets. Indeed, after Archegos collapsed but before he was indicted, Hwang


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  R. Davies, A. Isaac, and P. Inman, “UBS agrees to takeover of stricken Credit Suisse for
$3.25bn,” (The Guardian, March 19, 2023), available at:
https://www.theguardian.com/business/2023/mar/19/credit-suisse-bank-of-england-wont-object-
to-takeover-as-ubs-considers-1bn-bid.
5
 See SEC Chairman Gary Gensler, Statement on Exchange Act 10B and Rule 9j-1, available at:
https://www.sec.gov/newsroom/speeches-statements/gensler-10b-rule-9j-1-20211215.


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simply retreated to his personal foundation, Grace & Mercy, and resumed trading. Hwang even

hired many of his conspirators from Archegos to work beside him at Grace & Mercy. Thus, the

lineage that began at Tiger Asia, where the fund pled guilty to fraud, continued at Archegos, where

Hwang ran it through fraud, and continues now at Grace & Mercy, where once again Hwang has

resources at his fingertips and loyal followers at his side.


       C.      A Meaningful Sentence Is Necessary for General Deterrence.

       A twenty-one year sentence is also necessary to deter other traders from engaging in similar

fraudulent market manipulation. The legislative history of Section 3553 demonstrates that

“Congress viewed deterrence as ‘particularly important in the area of white collar crime.’” United

States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (citing S. Rep. No. 98-225, at 76 (1983),

reprinted in 1984 U.S.C.C.A.N. 3182, 3259); see also United States v. Mueffelman, 470 F.3d 33,

40 (1st Cir. 2006) (deterrence of white-collar crime is “of central concern to Congress”). General

deterrence is a particularly important sentencing factor in fraud and other white-collar cases

because the decision to commit those crimes is often a calculated cost-benefit decision. Martin,

455 F.3d at 1240 (“Because economic and fraud-based crimes are more rational, cool, and

calculated than sudden crimes of passion or opportunity, these crimes are prime candidates for

general deterrence.”).

       Here, imposing a twenty-one year sentence will send a clear signal that fraud through

market manipulation is no less blameworthy than other types of fraud and will be punished

accordingly. That is particularly important for general deterrence in this case because the type of

crime Hwang committed is difficult to detect and prosecute and because the case has been

publicized within the relevant industry.




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       With respect to the difficulty of detection and prosecution, fraudulent market manipulation

poses a particularly thorny challenge for regulators and prosecutors. On the surface, market

manipulation appears only as an unusual shift in prices, coupled with an unusual trading pattern.

Determining whether deceptive market manipulation occurs requires assessing whether the trading

and price movement occurred because of an intent to send a false price signal to the market, instead

of for other, legitimate reasons. Because traders often make huge numbers of trades and leave little

written record of the reasons for those trades, getting to the truth is often difficult, and in many

cases impossible. These difficulties have the unwelcome effect of making the crime more likely to

occur, as traders may make the cost-benefit analysis that the financial benefits of wrongdoing

outweigh the remote risk of prosecution.

       This dynamic makes imposing a meaningful sentence exceptionally important for

promoting general deterrence. As Judge Posner observed, “[c]onsiderations of (general) deterrence

argue for punishing more heavily those offenses that either are lucrative or are difficult to detect

and punish, since both attributes go to increase the expedited benefits of a crime and hence the

punishment required to deter it.” United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994);

see also United States v. Zukerman, 897 F.3d 423, 429 (2d Cir. 2018) (citing Heffernan). The

Second Circuit has recognized this principle in the context of insider trading, holding that

significant sentences in the context of financial crimes are often necessary to ensure others

understand that the crime is not “a game worth playing.” United States v. Goffer, 721 F.3d 113,

132 (2d Cir. 2013); see also United States v. Gupta, 904 F. Supp. 2d 349, 355 (S.D.N.Y. 2012)

(Rakoff, J.) (“As the Court has repeatedly noted in other cases, insider trading is an easy crime to

commit but a difficult crime to catch. Others similarly situated to the defendant must therefore be

made to understand that when you get caught, you will go to jail.”).



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       Moreover, the publicity that this case has received in the securities industry makes

imposing a multi-year term of imprisonment particularly necessary to act as a deterrent. Market

participants are watching to see what happens.


       D.      Hwang’s Personal Characteristics and Charitable Work Do Not Justify a
               Sentence of Less Than Twenty-One Years.

       Hwang devotes a substantial portion of his sentencing submission to describing his good

character and philanthropic work, primarily conducted through his personal foundation, Grace &

Mercy. (Hwang Sentencing Mem. at 4-32). The fact that Hwang may have been a good son and

brother or treated people well in some circumstances does not mean that he did not also willfully

engage in conduct that was enormously damaging to swath of individuals not known personally to

Hwang. Humans are complicated, and the capacity of one person to be generous while also

committing heinous crimes is almost unexplainable. Famously, Bernard Madoff was described by

several people as a “generous person” who paid for employees’ honeymoons, purchased a machine

to read to a blind man, arranged for medical care of an employee’s mother after a stroke, and

assisted another employee in her efforts to adopt a child. See United States v. Bonventre, No. 10

Cr. 228 (LTS) (S.D.N.Y.) (Trial Tr. 2649, 2850, 7550, 9501, 10198). Hwang, like many other

defendants, could have been honest and supportive with his family while he lied to counterparties

and distorted public markets for personal and private benefit; he could behave in a selfless manner

with friends while being motivated by overweening desire for success and wealth in his business.

       Moreover, the character that Hwang ascribes to himself in his sentencing submission at a

minimum fails to account for what emerged at trial and during the Government’s investigation.

Hwang acted quite callously and cruelly to his employees—even the ones carrying out his

manipulation scheme—and mocked and embarrassed employees in front of others. (See, e.g., Trial

Tr. 3163-64, 3184, 3207, 3314 (describing Hwang yelling at and “humiliating” traders and

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preventing them from using the bathroom) (Tomita); see also Trial Tr. 2582 (Sullivan)). Perhaps

most relevant to this sentencing, however, Hwang’s description of his own character fails to

account for the dishonesty he inculcated at Archegos; for his utter failure to take advantage of the

second chance he was given—one many people are not afforded—when he was not individually

prosecuted for his prior misconduct at Tiger Asia to turn to ethical and law-abiding behavior and

instead to return to market manipulation and securities fraud; or for the startling and rapacious

need to grow and protect his net worth to nearly incomprehensible levels despite the risks he put

on others.

       With respect to his philanthropy, Hwang contends that his “extensive history of hands-on

charitable work supports a non-custodial sentence.” (Hwang Sentencing Mem. at 67). Although

Hwang’s charitable giving is commendable, Hwang’s sentencing submission does not fairly and

fully describe the work that Grace & Mercy did, and in any event, what charitable work Hwang

did undertake does not provide a basis for a non-custodial sentence.

       As an initial matter, while Grace & Mercy may have been used to make charitable

donations, it also became a vehicle for Hwang to maintain control over individuals with knowledge

of his criminal schemes. After Archegos collapsed, Hwang offered positions at Grace & Mercy to

certain individuals who had worked at Archegos, including Halligan, Tomita, Becker, Andy Mills,

and Diana Pae. (Trial Tr. 1184-85, 3580-82). Hwang offered and did pay Tomita a salary of

$400,000 to serve as a trader for Grace & Mercy, and offered Becker a salary of $250,000 to help

manage Grace & Mercy’s trading, even though Grace & Mercy in fact did no trading. (Trial Tr.

1184-85, 3580-82). This conduct was consistent with other efforts Hwang took to discourage

others from cooperating with the Government, including directing Tomita to hire a lawyer who “is

a team player.” (Trial Tr. 3580).



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       In any event, prior charitable works, however commendable and extensive, by

professionally successful defendants rarely, if ever, should be considered a materially mitigating

factor because, as courts have previously recognized, it is not extraordinary for such individuals

to be involved in charities. See, e.g., United States v. Fishman, 631 F. Supp. 2d 399, 403 (S.D.N.Y.

2009) (a defendant’s “good name and good works” should not serve as “the human shield he raises

to seek immunity or dramatic mitigation of punishment when he is caught”); United States v.

Barbera, No. 02 Cr. 1268 (RWS), 2005 WL 2709112, at *12-13 (S.D.N.Y. Oct. 21, 2005). Indeed,

many defendants do not have the resources—in time, money, or social standing—to perform such

deeds, and so the law is reluctant to show leniency to the few defendants who are fortunate enough

to have such options. See, e.g., United States v. Vrdolyak, 593 F.3d 676, 682 (7th Cir. 2010)

(“Wealthy people commonly make gifts to charity. They are to be commended for doing so but

should not be allowed to treat charity as a get-out-of-jail card.”); United States v. Ali, 508 F.3d

136, 149 & n.17 (3d Cir. 2007) (charitable service is “evaluated with reference to the offender’s

wealth and status in life” because defendants “who enjoy sufficient income and community status

. . . have the opportunities to engage in charitable and benevolent activities.” (citations and

quotation marks omitted)); United States v. McClatchey, 316 F.3d 1122, 1135 (10th Cir. 2003)

(“[E]xcellent character references are not out of the ordinary for an executive who commits white-

collar crime; one would be surprised to see a person rise to an elevated position in business if

people did not think highly of him or her.”). In short, the fact that Hwang was able amass such

substantial personal wealth that he could create a private foundation to give to causes he believed

in should not insulate him from just punishment for engaging in extensive fraudulent scheme—

one that put at risk the livelihood and savings of an untold number of people all to expand and

protect Hwang’s own net worth.



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       E.      A Twenty-One Year Sentence Will Avoid Unwarranted Sentencing
               Disparities.

       A twenty-one year sentence—and not the non-incarceratory sentence requested by the

defendant—will avoid unwarranted sentencing disparities between Hwang and other defendants

who have committed similar crimes. See 18 U.S.C. § 3553(a)(6) (among the factors a sentencing

court must consider in imposing sentence is “the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct.”). Courts

in this District have consistently imposed significant sentences for investment professionals who

mislead others about performance or risk, particularly in cases involving defendants who, like

Hwang, oversaw significant sums of money and made, and directed others to make,

misrepresentations over an extended period of time.

       One comparable case is Judge Cote’s recent sentencing decision in United States v.

Velissaris, 22 Cr. 105 (DLC). The defendant, James Velissaris, managed over $3 billion of investor

money in funds that traded, among other thing, over-the-counter derivatives. Just as Hwang and

others acting at his direction made misrepresentations to banks about the risks he was taking with

their money, Velissaris lied about the performance of his investments and the process for valuing

them. Specifically, Velissaris represented investors that his investment funds used a third-party

group to value the derivatives he purchased, when in reality Velissaris played an active role in

altering valuations to inflate the apparent performance of his investments. When that mismarking

practice came to light, Velissaris’s funds were forced to liquidate many of the investments for

hundreds of millions of dollars less than the value Velissaris had reported to investors. Judge Cote

ultimately sentenced Velisarris to 15 years’ imprisonment.

       Here, the losses Hwang caused were exponentially greater than those caused by Velissaris.

In fact, when comparing this case to many of the financial fraud cases charged in this District in


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recent years, Hwang’s case stands apart from the rest because his crimes not only led to the collapse

of his business, Archegos, but placed the financial security of major financial institutions in

jeopardy as well. Where, as here, the magnitude of a defendant’s crimes is truly extraordinary, a

twenty-one year prison sentence is well-justified. See, e.g., United States v. Bankman-Fried, 22

Cr. 673 (LAK) (S.D.N.Y. Mar. 28, 2024), ECF No. 426 (sentencing the defendant to 25 years’

imprisonment for a multi-billion-dollar fraud scheme that led to the collapse of FTX).

       Judges have also imposed substantial prison sentences in other cases where investment

advisors defrauded others about performance or risk, even in cases involving substantially smaller

harm than Hwang caused. For example, in United States v. Hu, 20 Cr. 360 (AKH) (S.D.N.Y. Apr.

11, 2022) ECF No. 151-1, this Court sentenced the defendant, David Hu, an investment advisor,

to 12 years’ imprisonment for a hundred-million-dollar scheme that involved overvaluing and

falsifying information about loans that he traded on behalf of his clients. Hu had pleaded guilty to

his crimes and expressed remorse for his conduct—entirely unlike Hwang who, to this day, denies

any wrongdoing—and yet the Court still imposed a lengthy prison term in light of the significant

“financial impact of the criminality” and the fact that Hu “got other people involved in [his]

crimes.” Id.; see also United States v. Tagliaferri, 13 Cr. 115 (RA) (imposing a six year sentence

on an investment advisor who engaged in a scheme that involved misleading investors about the

nature of his investments and certain fees he received).

       The trend in this District of punishing significant financial crimes with significant prison

sentences is consistent with national averages. The PSR notes that sentencing data from the last

five years shows that the average sentence for a defendant sentenced under the fraud Guidelines

with offense level 43 is approximately 16.4 years’ imprisonment. (PSR at 50-51). This average is

based on the sentences imposed on 34 defendants between 2019 and 2023. Just last year, however,



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the average sentence for a defendant sentenced under the same fraud Guidelines with the same

offense level was 24 years’ imprisonment. Thus, a twenty-one-year sentence, which falls squarely

in the middle of these two averages, would be consistent with national averages and avoid

unwarranted sentencing disparities.

         The defendant cherry-picks four recent fraud cases in this District where courts imposed

sentences that were significantly below the Guidelines range. (Hwang Sentencing Mem. at 60-62).

But none of these cases are apt comparisons to this case. None involved a recidivist defendant like

Hwang. None were of the same financial scale as Hwang’s crimes. And none roiled the entire U.S.

stock market as Hwang did.

         The defendant cites to Judge Ramos’s 48-month sentence in United States v. Milton, 21 Cr.

478 (ER) (S.D.N.Y. Jan. 2, 2024), ECF No. 322, and Judge Abrams’s 44-month sentence in United

States v. Hild, 19 Cr. 602 (RA) (S.D.N.Y. Jan. 20, 2023), ECF No. 144. But both of those cases

involved fraud schemes that affected a single company and its shareholders or lenders. Hwang, by

contrast, artificially inflated the stock prices of a dozen companies, borrowed billions from close

to a dozen banks, and nearly brought down the entire stock market when his scheme collapsed in

March 2021. Thus, neither Milton nor Hild serve as relevant comparisons for the criminal conduct

here.

         The defendant also cites to Judge Gardephe’s 48-month sentence in United States v.

Amanat, 15 Cr. 536 (PGG), and Judge Rakoff’s yearlong sentence in United States v. Petit, 19 Cr.

850 (JSR). But the defendants in both of those cases presented with particular mitigating

circumstances that are not present here. In Amanat, for example, Judge Gardephe varied downward

from the Guidelines after observing the “suffering the defendant has already endured,” including

the failure of his marriage, the inability to assist his father during his dying days, missing his



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father’s funeral, and spending 34 months in the MDC, including during the COVID-19 lockdown.

15 Cr. 536 (PGG) (S.D.N.Y. Oct. 1, 2021), ECF No. 1221. None of these mitigators apply to the

defendant. In Petit, the defendant was 81-years-old and in poor health, which led the Court to

impose a sentence lower than it otherwise would have imposed. 19 Cr. 850 (JSR) (S.D.N.Y. Feb.

23, 2021), ECF No. 249. Of course, Hwang is far younger and healthier than Petit was, even with

Hwang’s heart condition, which the Bureau of Prisons is fully capable of caring for. (See Exhibit

H to Thomas Decl.).

       At bottom, defendants like Hwang who are repeat offenders and who are in a position of

trust and cause billions of dollars of harm to victims should be sentenced to lengthy prison terms.

A twenty-one-year sentence is necessary here and would be in line with the sentences meted out

to other defendants who engaged in similar conduct.


       F.      Forfeiture Order

       The Indictment contained forfeiture allegations that placed the defendant on notice that

various proceeds and facilitating assets would be subject to seizure upon conviction. At sentencing,

the Court should order Hwang to forfeit, among other things, his interest in the Archegos entities

that formed part of his racketeering enterprise, and the proceeds he obtained and used during the

course of the fraud. A proposed forfeiture order is attached hereto as Exhibit A.

                   1. Legal principles

                       a.      Racketeering Forfeiture
       Section 1963 directs that a district court, in imposing sentence, “shall order” a defendant

to forfeit the following property:


       (1) any interest the person has acquired or maintained in violation of Section 1962;




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       (2) any (A) interest in; (B) security of; (C) claim against; or (D) property or contractual
       right of any kind affording a source of influence over . . . [the RICO] enterprise . . . and

       (3) any property constituting, or derived from, any proceeds which the person obtained,
       directly or indirectly, from racketeering activity or unlawful debt collection in violation
       of section 1962.

18 U.S.C. § 1963(a).

                        b.     Fraud Forfeiture
       Title 18, United States Code, Section 981(a)(1)(C) subjects to civil forfeiture: “Any

property, real or personal, which constitutes or is derived from proceeds traceable to . . . any

offense constituting ‘specific unlawful activity’ (as defined in section 1956(c)(7) of this title), or a

conspiracy to commit such offense.” Section 1956(c)(7)(A) of Title 18, United States Code, in turn

provides that the term “specified unlawful activity” includes, among other things, “any act or

activity constituting an offense listed in section 1961(1) of this title except an act which is

indictable under [31 U.S.C. §§ 5311 et seq.].” The list of offenses identified in 18 U.S.C. § 1961(1)

are thus included within “any act or activity constituting an offense listed in section 1961(1) of

this title.” Among the offenses set forth in 18 U.S.C. § 1961(1) is violations of 18 U.S.C. § 1343,

for which Hwang was convicted, and fraud in the sale of securities, for which Hwang was also

convicted. Section 28, United States Code, Section 2461(c) authorizes the use of a civil forfeiture

basis in criminal cases as part of a defendant’s sentence.

                     2. Application

       The Court should forfeit Hwang’s interest in the Archegos Enterprise, as well as his

criminal proceeds.

                        a.     Hwang Must Forfeit his Interest in the Archegos Entities.
       As alleged in the Indictment and proven at trial, Hwang operated the Archegos Enterprise

through a pattern of racketeering activity. Based on records produced by Archegos and by the



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representations of Archegos’s counsel during the investigation of this case, the Government

understands Hwang to have an ownership interest in the following entities that formed part of the

Archegos Enterprise:

   •    Archegos Capital, LLC
   •    Archegos Capital Management, LP
   •    Archegos Fund LP
   •    Archegos Capital Partners LLC
   •    Archegos Fund LLC
   •    Archegos FOF GP LLC
   •    Archegos Fund of Funds LP

See also GX-267 (Archegos corporate ownership schematic). Accordingly, pursuant to Section

1963(a)(2), Hwang must forfeit any interest he holds in each of these entities.


                       b.      Hwang Must Forfeit the Proceeds of his Offense.
        Hwang’s scheme generated billions in proceeds through margin loans and trading profits

that Hwang extracted, typically in the form of excess collateral and margin, which he then

redeployed to further the scheme. As multiple witnesses explained, Archegos typically had the

ability to withdraw so-called “excess margin” from its counterparties when its positions

appreciated in value. (Trial Tr. 703-704, 779-80 (Miranda); Trial Tr. 364 (Martz); Trial Tr. 215

(Fairbanks); Trial Tr. 1742 (Tropper)). Archegos, in fact, did routinely withdraw excess collateral

and usually redeployed it to finance other trades. (Trial Tr. 3449-51 (Tomita)). So when Hwang

says he did not profit, he cannot mean Archegos did not receive billions from its counterparties;

he simply means that after withdrawing funds from the banks he did not transfer them to his

personal bank account.

        Both as racketeering proceeds, under Section 1963(a), and fraud proceeds, under Section

981(a)(1)(C), Hwang must forfeit the value of the proceeds he extracted, even though Hwang spent

those funds to further his frauds and ultimately lost them. United States v. Robilotto, 828 F.2d 940,



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949 (2d Cir. 1987) (court may enter forfeiture money judgment for the amount of the illegal

proceeds regardless of whether defendant retained the proceeds). Indeed, Hwang is subject to the

sanction of forfeiture even if he has lost all of his assets. United States v. Awad, 598 F.3d 76, 78

(2d Cir. 2010) (“We join our sister courts of appeal in holding that § 853 permits imposition of a

money judgment on a defendant who possesses no assets at the time of sentencing”; contrary

interpretation would create an incentive for criminals to spend their proceeds to avoid forfeiture).

The touchstone is simply that the funds were, “at some point,” controlled by the defendant or his

agents. See Honeycutt v. United States, 581 U.S. 443, 1632-34 (2017); United States v. Contorinis,

692 F.3d 136, 147 (2d Cir. 2012); United States v. Capoccia, 402 F. App’x 639, 640 (2d Cir. 2010).

Here, it is beyond dispute that Hwang was Archegos’s owner and manager with complete and final

discretion to decide what to with its resources, including margin loan principal and excess

collateral.

        As to amounts withdrawn, the Court should forfeit $12,352,849,075.16 representing

proceeds in the form of the following withdrawals:

Table 3 - Withdrawn Proceeds

 Counterparty                        Amount                           Selected Record
                                                                      Evidence

 Credit Suisse                       $ 4,191,035,165                  K. Fletcher Declaration at
                                                                      Exhibit 4, page 97,
 (For the period Jan. 4 to March                                      Column B.
 26, 2021)


 Deutsche Bank                       $6,086,381,811.83                Exhibit A to Thomas
                                                                      Decl., collecting Deutsche
 (For the period Oct. 1, 2020 to                                      Bank records.
 March 26, 2021)

 Goldman Sachs                       $560,000,000                     Exhibit B to Thomas
                                                                      Decl., collecting Goldman



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 (For the period Oct. 1, 2020 to                                         Sachs wire transfer
 March 26, 2021)                                                         records.

 UBS                                  $831,893,978.72                    Exhibit E to Thomas Decl.

 (For the period Oct. 1, 2020 to
 March 26, 2021)

 MUFG                                 $280,000,000                       Exhibit C to Thomas
                                                                         Decl., Column O.
 (For the period Oct. 1, 2020 to
 March 26, 2021)

 Mizuho                               $155,538,119.61                    Exhibit D to Thomas Decl.
                                                                         “Amount” column.
 (For the period Oct. 1, 2020 to
 March 26, 2021)

 Jefferies                            $248,000,000                       October 4, 2024 Decl, of J.
                                                                         Miranda at 3-4.
 (For March 2021)

 TOTAL:                               $12,352,849,075.16


       G.      Restitution Order

       Under the MVRA, the Court must order restitution to Hwang’s victims. See 18 U.S.C.

§ 3663A(c)(1)(A)(ii). The MVRA provides that a sentencing court “shall order . . . that the defendant

make restitution to the victim” of certain types of Title 18 offenses, including any offense against

property committed by fraud or deceit. 18 U.S.C. § 3663A(a)(1), (c)(1)(A)(ii). A “victim” under this

statute is a “person directly and proximately harmed as a result of the commission of an offense.” 18

U.S.C. § 3663A(a)(2). The restitution amount is to be determined by a preponderance of the evidence,

and the Court has “broad discretion to determine restitution,” and need only make a “reasonable

estimate” of the actual loss “based on the evidence before it.” United States v. Milstein, 481 F.3d 132,

137 (2d Cir. 2007).

       Based on the trial proof, record evidence, and victim submissions, the Court should order

restitution to two classes of victims: (a) Archegos counterparties that suffered losses from their


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business dealings with Archegos and (b) innocent Archegos employees whose deferred

compensation amounts Hwang gambled away as part of his scheme. The Government does not

seek to compel Hwang to restitute all the market participants who suffered losses as a result of his

manipulative trading schemes because the “number of identifiable victims is so large as to make

restitution impracticable.” 18 U.S.C. § 3663A(c)(3)(A). As set forth above in the discussion of the

Guidelines losses, Hwang’s conduct is the direct and proximate cause of both the counterparties’

losses and the losses of the innocent Archegos employees.

        The Government has received numerous victim impact and restitution submissions that it

has forwarded to the Court. Understanding that victims may provide still further losses and that

any restitution order drafted now may still need to be amended, the Government encloses a proposed

order as Exhibit B, based on victim submissions received to date.


        H.      Surrender Date

        Although the Government does not seek remand at the time of sentencing, the Court should

set a surrender date and not permit Hwang to avoid serving his sentence pending the filing and

resolution of any appeal.

        The Bail Reform Act provides that a court “shall order that a person who has been found

guilty of an offense and sentenced to a term of imprisonment” be detained pending appeal unless

the court finds “by clear and convincing evidence that the person is not likely to flee or pose a

danger to any other person or the community if released,” and that the appeal, in relevant respect,

“is not for the purpose of delay and raises a substantial question of law or fact likely to result in

(i) reversal, [or] (ii) an order for a new trial.” 18 U.S.C. § 3143(b).

        This provision gives effect to Congress’s view that “[o]nce a person has been convicted

and sentenced to jail, there is absolutely no reason for the law to favor release pending appeal or


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even to permit it in the absence of exceptional circumstances.” United States v. Miller, 753 F.2d

19, 22 (3d Cir. 1985). After a guilty verdict and sentencing, there is a “presumption in favor of

detention.” United States v. Abuhamra, 389 F.3d 309, 319 (2d Cir. 2004). It is the defendant’s

burden to “rebut that presumption with clear and convincing evidence.” Id.

          Under the second prong of the standard, a “substantial question” is “a close question or one

that very well could be decided the other way.” United States v. Randell, 761 F.2d 122, 125 (2d

Cir. 1985) (quotation marks omitted). “If a court does find that a question raised on appeal is

‘substantial,’ it must then consider whether that question is ‘so integral to the merits of the

conviction on which defendant is to be imprisoned that a contrary appellate holding is likely to

require reversal of the conviction or a new trial.’” Id. (quoting Miller, 753 F.2d at 23). Notably,

“the appeal must raise a substantial question that, if decided in defendant’s favor, will likely result

in a reversal or order for a new trial as to all counts for which a defendant has been sentenced to

prison.” United States v. Silver, 203 F. Supp. 3d 370, 377 (S.D.N.Y. 2016) (emphasis added). With

respect to all of these issues, “the burden of persuasion rests on the defendant.” Randell, 761 F.2d

at 125.

          To the extent that the defendant seeks to raise as a substantial question the sufficiency of

the evidence supporting the jury’s verdict against him, he faces a particularly high bar. Indeed,

“[a] defendant challenging the sufficiency of the evidence bears a heavy burden.” United States v.

Kozeny, 667 F.3d 122, 139 (2d Cir. 2011). A jury verdict must be upheld if “any rational trier of

fact could have found the essential elements of the crime beyond a reasonable doubt,” United




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States v. Persico, 645 F.3d 85, 105 (2d Cir. 2011) (emphasis in original), and of course the burden

to establish venue is by a preponderance of the evidence.

       Hwang has promised to appeal his conviction relating to scheme to defraud Archegos’s

counterparties on the basis that the evidence adduced at trial was insufficient to support the jury’s

verdict. There is no reasonable possibility of success for such an argument. Among other things,

Tomita testified to Hwang’s participation in this conspiracy based on his first-hand knowledge,

and that testimony alone provides a sufficient basis to uphold the jury’s verdict. And the testimony

was corroborated by recordings and emails in which Hwang himself provided false and misleading

information to counterparties or directed Tomita to do so. There is no substantial question as to

the sufficiency of the proof on any count of conviction relating to Hwang’s involvement in

defrauding counterparties—and even if there were, it would not provide a basis for bail pending

appeal because Hwang was also convicted of conspiring to operate Archegos through a pattern of

racketeering activity, securities fraud, and market manipulation.

       With respect to the market manipulation counts, Hwang continues to attack his convictions

as “unprecedented” and “difficult to define.” (Hwang Sentencing Mem. at 2). Even if this case

were unprecedented, that would not provide a basis for Hwang to appeal his conviction or remain

on bail pending such an appeal. But of course, this case is not unprecedented—it is consistent with

decades of precedent in this Circuit and indeed even since Hwang’s conviction, judges in this

District have continued observe the market manipulation of the kind that Hwang committed is

unlawful. See United States v. Mashinsky, No. 23 Cr. 347 (JGK), 2024 WL 4728500, at *6

(S.D.N.Y. Nov. 8, 2024) (denying motion to dismiss market manipulation charges based on open-

market transactions); United States v. Larmore, No. 24 Cr. 140 (PAE) (S.D.N.Y. Oct. 21, 2024),

Trial Tr. 880 (instructing jury that “[a]n act can be manipulative even if it’s conducted on the open



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market or through ordinary market activity, such as by placing an order to buy or sell, or by actually

buying or selling,” and that, “[i]n some cases, a defendant’s what we call scienter, that is, a

defendant's intent to manipulate a stock price, is all that distinguishes legitimate trading from

manipulative trading”). There is no close question in this case that, if resolved in favor of Hwang,

would result in all of his convictions being vacated, and therefore he should be required to

surrender and serve the sentence imposed for his crimes.




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VI.     CONCLUSION

        Bill Hwang used his personal hedge fund to commit a fraud that altered the American stock

market and visited billions of dollars in losses on his trading counterparties. He pursued that fraud

even after previously being ordered not to commit securities fraud. And even now he has no

remorse for his conduct. For those and the foregoing reasons, the Government respectfully submits

that the Court should sentence Hwang to a term of twenty-one years’ imprisonment; forfeiture of

his interest in, and proceeds obtained from, the racketeering activity; and order him to pay

restitution to his victims.


Dated: New York, New York
       November 15, 2024                              Respectfully submitted,

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